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                              U N ITED STAT ES D ISTR IC T CO U RT
                              SO U TH ER N DISTR IC T O F FLO R ID A

                              CASE NO .14-CV-80403-ClV-HURLEY

   LY DIA A DA M S,as PersonalR epresentative of
   THE ESTATE OF SETH ADAM S.

          Plaintiff,

   V S.

   M ICHAEL M .CUSTER individually and
   RIC L.BR ADSHAW in hisofficialcapacity as
   SheriffofPalm Beach C ounty,Florida,

          Defendants.
                                             /

                            M EM O R AND U M O PIN IO N AN D O R D ER

          Lydia Adam s,acting as PersonalRepresentative ofthe Estate of Seth Adam s,has sued

    SheriffRicBradshaw (kûtheSheriff'),inhisofficialcapacityas SheriffofPalm BeachCounty,and
    Sgt.M ichaelCuster(;ûCuster''),individually,fordamagesunder42U.S.C.j1983.Plaintiffalleges
    thatCusterillegallydetained herson,Seth Adams(1$Adams''),and used excessivedeadly force
    againsthim in violation ofthe Fourth Am endment.She also assertsthatCusterwasdeliberately

    indifferenttoherson'sseriousmedicalneedsinviolationoftheFourteenthAmendment(Counts1,
    2).Additionally,Plaintiffassertsstate1aw tortclaims(battery,negligence)againstCusterandthe

    SheriffunderFlorida'swrongfuldeathstatute(Counts3,4).
           The case is now before the Courton the D efendants' am ended m otions for sum m ary

    judgmentastoallclaimsgECFNos.170,171j.Forreasonsdiscussedbelow,theCourtwillgrant
    the m otions in partand deny the m otions in part.
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                                   L FACTUAL BACK GROUND

                                  A.SGT.CUSTER 'S DESCRIPTION

          This case results from a two-person confrontation with only one survivor and,therefore,

   Custeristheprimary sourcefordescribing whathappened.He statesthatshortlyafter11:00 p.m .,

   on M ay 16,2012,he backed hisunm arked police SU V into the parking lotoftheVsone Stop Garden

   Shop,''in Loxahatchee,Florida,and parked thevehicle facing west. (He eitherdid notsee or
   consciously disregarded a large sign stating,CûN O PA RKIN G 6 PM TO 6 AM V EH CILES W ILL BE

   TOW ED.'')Atthetime,Custerwason duty asan undercoveragentin a surveillanceoperation
    conductedbyaPalm BeachCountySheriffOffice(PBSO)tacticalunit(TAC).1Hewasdressedin
   plain clothes,withno visible1aw enforcem entidentitication.Heremainedseated inhisvehiclewith

    them otorrurming,tinted windowsrolled up,and headlightsoff.




           1while Custer contends he was on officialduty,operating asthe Sttake-away''agentin the surveillance
    operationsofhisTAC unit,thePBSO TacticalOperationsUnitSurveillanceLog(DE 95-3)doesnotincludeCuster's
    name asoneoftheofficerstçassignedto surveillance''on thenightoftheshooting. However,Plaintiffallegesin her
    complaintthatCusterwasactinginthecourseandscopeofhisemploymentatallrelevanttimes,eliminatingtheneedfor
    furtherdebateatthisjunctureonthesignificanceofthispieceofcontlictingevidenceasitrelatestotheissueofwhether
    Custerwasacting withinthescopeofhisdiscretionary authority,forqualified irnmunitypurposes,orwithinthecourse
    and scopeofhisemployment,forsovereign inzmunitypurposes.
            Atthesam etim e,thereisasuggestionintherecordthatCusterm ayhavechosenthisclandestineIocationasa
    meetingplaceforaromantictrystwithaco-worker.A thirdparty,J.Mark Dugan,hastestifiedbyaffidavitthatCuster
    toldhim hewashavingasexualrelationshipwithanotherdeputy andthatheplanned tomeetheron thenightAdams
    wasshotgDE 98-l1.ThedeputywasdeposedanddeniedanyimproperrelationshipwithCusterorcontactwithhim on
    thenightoftheshooting. TheSheritrsDepartment ordered DNA testing on Custer'sclothing which revealedthe
    presenceofDNA from a thirdperson - notCusterorAdams--on Custer'spantsnearthe zipperand waistbutton.
    Third-party DNA wasalso found on Custer'sshirtcollar. DNA testing wasdoneon aswab taken from thedeputy;
    althoughthisdidnotpositivelylilzk hertotheDNA foundonCuster'spants,DNA analystscouldnotruleher outasa
    contributor.Further,aphotograph ofthehomicidesceneshowsa largepuddleofcondensation severalfeetinfrontof
    Custer'svehicle,sim ilarin appearanceto the poolofwaterwhich collected from the airconditioning system found
    underneath Custer'svehicle,suggestingthepossiblepresenceofanothervehicleatthesceneatornearthetimeofthe
     incident.
              W hilethisevidencem ayberelevanttotheextentithintsatthepossibilityofanotherpersonpresentatthescene
    - a nd apossibleeye-witnesstotheAdams/custerconfrontationv  -theCourtdoesnotfind itrelevanttotheçscourseand
     scope''issuewhich hasbeen concededby theallegationsofthePlaintiff'scomplaint.
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         Approximatelyahalf-hourlater,Adnm sdrovehisblueFordpick-up truck intotheparkinglot

   oftheOneStop property.HeparkedparalleltoCuster,facingeast,approximately 10-15feetaway.

   According to Custer,Adam sim mediately began shouting profanities itas loud as aperson could

   m aketheirvoicer''screaming,çtW ho thef----areyou? ...W hatthef----areyoudoinghere?''After

   Custeridentified him selfasadeputy sheriffonasurveillanceassignmentSilookinginto afew things''

    in thearea,Adam sretorted,;t1don'tgivea f---orwhatthe f---you aredoinghere....You haveno

    righttobehere.''Adam sexitedhistruck,em pty-handed,andadvancedon CusterataSkrapidpace,''

    prom ptingCusterto exithisvehicle.CustergrabbedhisPBSO identification lanyard f'
                                                                                   rom thefront

    seatofhisvehicleandcarried itout,holdingituptodisplaytoAdamsasheagain identifiedhim self

    asanundercoverpoliceofficerwiththePalm Beach County SheriftosOffice(PBSO).
           In hisinitialswornstatem ent,giventoPBSO investigatingofficerDetectiveChrisNeuman,

    Custerclaimedthatadisplayofcredentialstlusuallybringsgapersonjdownalittlebit,''butinthis
    case,liitdidn'tbring(Adamsjdownatall.Itactuallyseemedtomakehim worse.''gDE202-3,page
    91.CustersaidhetoldAdamsnottoadvance,butatthatpoint,çsgtlhegaphadbeenclosed,''andt'out
    ofnowhere...(Adamsjgrabbed(himjbythethroat.''gDE 202-3,p.5J.Custerinitiallydescribedit
    as ûta good grip''w hich lasted ûûa couple of seconds.''ln later deposition testim ony, Custer said

    Adamsgrabbedhim bythethroat,usingonehand,tdashardasamancouldgrabyou''gDE 95-2,p.
    214.lnhisdeposition,hefurthertestifiedthatheinitiallyperceivedAdamsasû$altmatic,''(DE95-2,
    p.201,butneverthelessdecided toapproach him - insteadofleaving theproperty- becausehe
    thought Adams m ighthave been a tsdecoy''for a group ofburglary suspects who were under

    surveillancebyhisTAC unitintheareagDE 95-2,pp.20-21j.
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          Custersaid hecountered Adam s'grab with an ifarm sweep,''allowing him to break freeof

    Adam sgrip. Aftera brieft'grappling,''Custergave Adam sa lssternum strike''which effectively

    liknockgedlthewind''outofhim,allowingCustertowithdraw andcreateaspacebetweenthetwo.
    Atthispoint,Custerdrew hisfirearm with hislefthandandpointed itatAdam s,orderinghim tothe

    groundandtellinghim hewasunderarrest(presumablyforthecrimeofassaultingapoliceofficer)
    (DE 95-2,p.22,242.AlthoughCustersaw nothinginAdams'hands,hestatedhefeltinfearofhis
    lifeand decided to draw hisweapon becauseofAdams'Stoverallaggression''and çiinability to de-

    escalateatall,''commenting,Sll'm notgoingtofighthim oneononebymyself''(DE 95-2,p.23J.
           Instead ofobeying Custer'scomm and,Adam sûshovered''in frontofCuster,lessthan five

    feetaway,walkingbackandforthinasemi-circle,withhisemptyhandsvisibleinfrontgDE 95-2,
    p.251.Custer- withhisgunstilltrainedonAdnms-backeduptohisvehicle,retrievedhishand-
    held radio from the frontseatand broadcastarequestforback-up,saying tCIneed aunitatA Road

    and Okee''gDE 95-2,pp.25,30J. Custercontinued to commandAdamsto gettothegroundand
    wmmedhim hewouldbeshotifheadvanced furthergDE 95-2,p.251.
           ln hisinitialsworn statementto PBSO investigating officerNeuman,Custersaid Adam s

    ignoredthiscommandanditmadeamovementforthecar.''(DE 202-3,p.61.AsAdamstskindof
    wasgoingintothecar,''Custerkkliterallykickedthedoorshut''effectivelyiûpilm ing''Adnmsbetween

    thedoorandtruck fram e.Adamstswasm ovingaround''asCusterheldhim there,kttryingtogetout

    ofthedoor,''givingCusterthelsperception''thatAdamswaslttryingtogetaweapon.'' (DE 202-3,
    p.6j.Inthisinitialstatement,Custersaiditwasatthispoint,whenheSlhadgAdams)caughtkindof
    in ...betweenthedoorand thecar,''thathelûsaw gAdams)annscomingarounds''andhebeganto

    fire,dischargingthreeorfourrounds(DE 202-3,p.6-7j.
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           In laterdepositiontestim ony,Custerelaborated onwhatprecipitated hisgunfre,saying he

    firstnoticedAdamslklookgingjoverhisshouldertowardshis-theopendooroftruck,''prompting
    Custertowarnhim tokeep away from thetruck orbeshot.(DE 95-2,p.251.Healsotestifiedat
    depositionthathesaw Adam sçiinthetruck fishingaround''asheheldhim pinned between thetnzck

    fram e and cardoorfora period ofabout10 to 15 seconds. Custersaid thathe held hisgun in hisleft

    handduring thisstruggle,whilehewrappedhisrightarm aroundAdam s'head andneckarea,trying

    topullhim awayfrom thevehicle.gDE 95-2,p.261. Custermaintainsheyelledtdstop resisting,
    stop resisting;you're going to getshot,you're going to getshot;1etm e see yourhands,letm e see

    yourhands''during thisstruggle (DE 95-2,p.261.Custertestified itwasatthatmomentthat
    SllAdamsjyelledout,f----you,asloud ashecould,andcamespinning around outofthetrtlck,''
    disengaging Custer'shold on him (DE 95-2,pp.26-271. Adamswasstanding in between the
    driver'ssidedoorand vehicle frnm e,stillm oving and ttspim zing azound,''w hen Custerthen fired his

    firstshot.gDE 95-2,p.271.
           CusterfiredthzeemoreshotsinrapidsuccessionashebackedawaygDE 95-2,pp.27-281.
    Unsure ifhe had hitAdam s,Custertook coverby crouching behind therearpanelofhisvehicle.

    From thisvantagepoint,Custersaw Adam snm directly from thedoorareaofhistruck,aroundthe

    frontofAdams'vehicleandthenoutthroughanearbygate,disappearingllintothedarkness''2 gDE

    95-2,p.29J.CusterdidnotrecallseeingAdamsstandingatorneartheleftreartireofthetruckat

    anypointduringthisencountergDE 95-2,p.30J.


             2Afterhe wasshot, Adam susedhiscellphonetom aketwo callsforhelp.Thefirst,atll:4lp.m .,lasted45
    seconds',thesecond,at1l:
                           42p.m.,lasted34seconds.BothcallsweredirectedtoAdams'brotherandsister-in-law.The
    record isunclearastowhetherA dam sm adethesecallsfrom theparking lot,beforehecollapsed,orfrom thenursery,
    afterhe collapsed.
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           At 11:41 p.m .,Custer broadcast a second call- çsshots fired''-- followed by a third

    transmissionat11:42 p.m.--Ssshotsfired;whitem aleraninside,cam eatm eand attackedme,''anda

    finaltransmissionat11:43p.m.--1$Heishit.1needEM S''(DE 95-2,pp.30-311.Custertestitied
    thathe m ade the finalcallrequesting emergency medicalservices because he could see blood

    splattersinfrontofAdams'truck.(DE 95-2,p.311.Custerremainedbehindhisvehiclewhilehe
    waited forrelief.

           W ithin m inutes,a back-up team from the TA C unitanived.Follow ing theblood trail,agents

    discovered Adam s,collapsed in the darkened nursery grounds approxim ately 250-300 feetbeyond

    the gate entrance. One of the agents,Ofticer Schum m ,rem oved his t-shirtand used itto apply

    pressure to Adnm s'w oundsuntilthe m edicsarrived.A dam swasim m ediately air-lifted by Traum a

    Haw k to a localhospitalwhere he died the nextm orning.

                            B.EV ID EN CE FRO M O TH ER SO UR C ES

           On M ay 16,2012,Seth A dam swas24 yearsofage. H ew as692''feettalland weighed 204

    lbs.(DE 96-11,p.5j.Custerwas5'8''andweighedapproximately200 lbs.(DE 66-1,p.101.
           Adam s'blood alcoholcontent,derived from a blood draw atSt.M ary'sH ospital,was.131

    (DE96-11,p.231.HewaswearingaworkshirtwiththeûûoneStop''companylogoonthefrontand
    back.Heboth lived and worked on theStone Stop''nursery property.

           AgentKevinDrumm ond,anothermem beroftheTAC Unit,droveby and madeaU-turn in

    frontoftheOne Stop parking 1otduring the encounterbetween Custerand Adam s.Drum mond's

    headlightssweptoverthe parking lot,allowing him to observeCusterexitinghisvehicle and Adam s

    standing stillbetw een the tw o vehicles,nearthe driver's side frontquarterpanelofAdam s'truck.

    Drummond did notstop asûûgiltdidn'tappearthatthere wasanything wrong.''Asobserved by
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    Drumm ond,itappeared thatCusterwastalking toAdam sashegotoutofhiscar,and Adamswas

    standingtherelookingathim .Drummond saw noindicationofanymenacinggesturesorscream ing,

    oranysignofcontlictgDepositionofDrummond:DE 96-7,pp.12-131.Approximately90seconds
    later,as he drove eastbound on Okeechobee Blvd and tunw d south on B Road,he heard a

    ''distressed''Custercallingforaback-up unitatA Roadand Okee(DE 96-7,p.14j.Drummond
    im m ediately stopped hisvehicle,backed outonto Okeechobee Blvd.,and droveback to theO neStop

    parkinglotgDE 96-7,p.141.3 HealsoheardAgentSchumm broadcastawarningtotheeffectof,

    i'Boys,ljustheardshotstiredinthearea.Justbecareful,''moments beforeheheardCuster'sfirst
    callforback-up- acallwhichnotablymadenomentionofashooting (DE 96-7,p.15j.
            M ary Bains,a forensicexaminercalled to the scene,exam ined and photographed Custer's

    neck and throatarea,which Custerclaim edhad been grabbed t'ashardasaman can grabyou.''Her

    photographsshowednorednessorbruisingorothermarksonCuster'sneckgDE 95-8,p.2)gDE 96-
    1,pp.11-12J.A swabofCuster'sneck,analyzedbyPBSO forensicscientistTaraSessa,revealeda
    trace am ountofDN A w hich cam efrom som eone else.Sessa w asunableto determ ine whatbiologic

    substance the trace m ay have com e from ,noting thatthe specific testresultfor Seth A dam s was

    lsinconclusive''gDE 96-8,pp.25-27,301.
            BallisticevidenceindicatesthatCuster'sfirstshotpiercedAdam s'rightforearm,fracturing

    bone,before exiting atthe w ristand grazing hisabdom en.Theentrancew ound on A dam s'foreann

    showsstipplingfrom gun powderresidue,aphysicalfindingwhichallexpertsagreeisindicativeofa


            3ln Custer'sdepositiontestim ony,heacknowledgesheheardçfafterthefact''thatSgt.Drum m ond wasinthe
    areaandobservedhim talkingtoAdamsatthisjunctureoftheencounter.Althoughinhis5-l8-12swornstatementhe
    consistentlym aintainedthatan enragedA dam swasscream ing athim throughouttheentireencounter,in his9-29-14
    deposition testimony,he acknow ledged he wasableto tçbrietly''havea civilconversationw ith Adam s,agreeing the
    exchangewasinitiallytçcongenial''whenhewasexplainingwhohewasandwhathewasdoingontheproperty,atwhich
    pointttforacoupleofseconds,(Adams)satthereIisteningtome''DE 95-2,p.231.
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    shottaken atclose range,approximately one to two feetfrom the body.A bulletwith im bedded

    bonefragm entw asfound severalfeetbehindh dam s'pick-up,theresting place ofw hich ism arked

    asStstanchion6''ontheforensicexaminer'sreportgDepositionofPeterBarnett:DE 174-3,p.171.A
    bullet %ipetal''found in A dam s'foreann,extracted by the m edical exam iner,exactly m atches a

    missingpetalfrom thebulletfoundatiçstanchion6,''linkingthisprojectile toAdams'forearm/wrist
    wounds.Thepresenceofbonefragm entalso linksitto theforearm/wristshot,the onlyonewhich

    fracturedbone.Thereisno evidencethatthisbullet,orany other,truckAdam s'stnlckcausingitto

    ricochetoralteritscoursegDeposition ofChrisNeuman:DE 95-5,p.17j.
           Blood stain evidence photographed and videotaped atthe scene furthershow sthata blood

    trailoriginated betw een the tw o vehicles and behind A dam s'tnlck,notinside the frontdoorofthe

    tnlckgDepositionofJamesBolm:DE95-16,pp.66-671gDepositionofPBSO CSlJulianBrandt:DE
    174-2,pp.16-17J.Thebegilmingofthebloodtrailisfoundinastraighttrajectoryfrom theprojectile
    markedattistanchion6''gDepositionofPeterBanwtt:DE 174-3,pp.22-231.
           A defenseforensicexpertexaminingblood foundonthecuffofCuster'sjeansopinedthis
    was'isatellite splatter''from blood wasdripping onto theground,splashing upward and outward

    ontoCuster's pantswhenhestoodwithin 12inchesofAdams'body gDepositionofStuartJames:
    DE 95-17,p.15-161.
                                 C.O FFICIAL IN VE ST IG A TIO N S

           ThePBSO ordered acrim inaland an internalaffairsinvestigation into the shooting death of

    A dam s.Sgt.Richard M cAfee was in charge ofthe crim inalinvestigation,and Sgt.BrettCom bs

    headed up the internalaffairs investigation.Sgt.M cA fee assigned D etective ChrisNeum an,ofthe

    PBSO V iolentCrim esD ivision,aslead detective to investigate the hom icide.
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              Neum an arrived atthecrim esceneat11:50 p.m .andwasinitiallybriefed by Sgt.M cAfee,

    w ho relayed Custer'sim m ediate explanation ofthe shooting,i.e.thatCusterw asparked in the O ne

    Stop 1otwhen Adam sreturned home,confrontedCusterandthen ûsbattered him forcinghim to fire

    hisduty w eapon.''O therTA C agentsinterview ed byN eum an,specificallyA gentZuccarro,sim ilarly

    reported thaton theiranivalCustertold him thatAdam s had attacked him ,causing him to shoot.

              In N eum an'sinitialtourofthe scene,atapproxim ately 12:50 a.m .,he found tdapoolofblood

    ...   on the ground nearthe reardriver's side tire''ofthe Adam s'vehicle,asw ellastsblood ...on the

    reardriver'ssideconwrpanel''gDE96-3,p.2j.Hisreportmakesnomentionofbloodsplatterfound
    on ornearthe driver'ssidedoorofA dnm s'truck.The reportoflead crim e scene investigator,M ary

    Bains,in contrast,notesçiareasofBLS (blood like stains)on thedriver'sside ofthe gAdams'
    vehicle)(frontquarterpanel,door,frontwheel,rearquarterpanel,andreartirel.''Finnlly,œ tœéve
    Neuman reported finding a blood trailltstartgingjon the driver's side of gAdamsltruck''and
    continuing into the enclosed property forapproxim ately 150-200 feet.

              N otably,Detective N eum an described A dam s'vehicle as1kA 1992 BLUE 2 D OO R FO RD

    R AN G ER W ITH FLO RIDA TA G,'' noting SIBOTH D OO RS W ER E Cf OSED AN D TH E

    DRIVER'S W INDOW OF THE TRUCK W AS DOW N'' (DE 96-3,p.2)gEmphasissuppliedl.
    Bains did not sim ilarly describe the contiguration of the Ranger doors,but she did directthe

    placem entofcollision wrap overtheopen window ofthe Ranger,the sealing ofthe vehicle with

    evidencetape,anddeliveryofthevehiclethePBSO crimescenegarage(DE 95-8,p.21.
              Finally,Neum an found Custer'sblackcellphoneclip,alongwith aspentshellcasing,onthe

    ground nearthe driver'sdoorofAdnm struck.H efound Adnm s'cellphone Sion thepassengerside of

    thetruck.''Thisaccountm irrorstheobservation ofC SlM ary Bains,who sim ilarly reported finding
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    Adams'red Blackbeny Curve cellphone tûon theground to the south ofthe Ranger.''4

            N eum an did notinterview Custerortakea fonnalstatem entfrom him atthe scene, nordid

    he ask Custer to perform a re-enactm entvideo at the scene. Two days later,on M ay 18,2012,

    Neuman took a formalstatem entfrom Custeratthe SheriffsOffice with Custer'sattom ey,Rick

    King,present.ln thisstatem ent,Custcracknowledged hedidnotseeanythinginAdams'handsashe

    cametsspinning''outofthetruck,and explained hisdecision to use deadly forceasfollows:

               based on the events with him trying to choke m e,his,his repeated refusalto
             ...

             succumbcometo (sic),you know,mycommandsthathewasunderarrest,lwas
             very,very fearfulthathe w as - he w as intense on harm ing m e,killing m e. lw as
             very,very scared formy life and feltitnecessary to utilize deadly force....


     gDE 202-3,p.9q.5




             4Neuman'sandBains'reportonthispointisatoddswiththetwoaffidavitssubmittedin supportofthePBSO
    application forasearchwarrantoftheAdams'residence.Theseaffidavits,authoredbydetectivesChristopherFarron
    andlrisReyes,reportthatAdams'brotherandsister-inlaw,Davidand RainaAdams,reportedfindingAdamscollapsed
    outsideoftheirresidencettwithhiscellularphoneinhand.''gDE 202-1,p.5,
                                                                       'DE 202-2,p.4).
              5Thisdescription, focusing on the alleged physicalattack astheprecipitation forgunfire,also m irrorsthe
     informationrelayedbyCustertoSgt.Combs,headingup intheinttrnalaffairsinvestigation.Sgt.Combs'SiuseofForce
    report''dated6/5/12describestheuseofdeadlyforceasCuster'sreactiontotûAdamsgrabgbing)SergeantCusterbythe
    throatarea.
              ''AlthoughCusterwasSdabletousehishandstobreakMr.Adams'hold,''hesaidthettcongontationcontinued
     leadingSergeantCuster,infearforhislife,todischargehisdutyfirearm fourtimes....'' (DE 175-14J.Notablyabsent
    in eitherSgt.Comb's isuseofForce''reportorCuster's initialsworn statementto Det.Neuman isany mention of
    Adamsmakingany furtiveSifishing''movements insidethep% sengercompartmentofhistruckaherCusterallegedlytold
    him hewas underarrestand commandedhim to geton theground.
              Thesuggestion thatshotswerefired afterCusterpinnedAdamsbetweenthevehicledoor,whileAdamswas
    itreaching'' in histruck firstcame up in isfollow-up''questioning by Custer'sattorney atthe conclusion ofDet.
    N eum an's5-l8-12 sworninterview ofCuster.Atthattime,Custer'scounselaskedCusterifhewasableto seeinthe
     trucktçwhen(Adams)wasinsidethecarreachingintothecar''(DE 202-3,p.9).Custeransweredtçno.''
             The reference to Adam s'tçfishing around''inside his truck firstappearsin deposition testim ony taken
     September29,2014.
                     ,in thattestimony, Custersaid he saw Adams looking athistruck aûertheirinitialscuffle,
     promptingCusterto warnAdams notto gonearthetruck orbeshot.Custersaidhethen kickedthedriverdoorshut
     içhard''onAdams,catchinghim tçinbetweenthetruckandthedoori''atwhichpointhesaidAdamstçwasfishing...(hle
     wasinthetruckfishingaround.''Custersaidhebecamed'fearfulfor(hisqlife''atthispoint,causinghim todischargehis
     tirearm whenAdamssuddenlyspunaroundtowardhim (DE 95-2,p.27J.
                                                           10
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          Sgt.M cAfee did notorderthe seizure ofCuster'swork cellphone into evidence;to the

   contrary,upon inquiry from leadcrimesceneinvestigator,M aryBains,heaffirmativelytold Bains

   notto take Custer'sphone.Crimescene investigatorsdid takeCuster'sclothing,minushisboots,

    into evidence,as w ellas Adam s' clothing,A dam s' cellphone and tw o com puters seized from

    A dam s'hom e.
           ThePBSO criminalinvestigationconcludedwithadeterm inationthattheAdam s'shooting

    wasa:justifiablehomicide.''TheInternalAffairsDepartmentsimilarly foundno departurefrom
    departm entoperating policiesorproceduresin Custer'suse ofdeadly force.

                                   D .FA CTU A L CO NFL IC TS

           Forsummaryjudgmentpuposes,thequestioniswhethertherearegenuineissuesofmaterial
    factsufficientto callinto question Sgt.Custer'sversion ofthe incident,i.e.thatheshotAdamsas

    Adamsstoodpinnedbetween thedoorandfram eofhisvehicle,aflerAdam striedtochokehim and

    refusedtofollow Custer'scomm andstogetontheground,andinstead,persisted inreachingintohis

    vehiclelookingforwhatCusterfeared mightbeaweapon.Thecourtconcludesthattherecord,asit

    standstoday,and viewed in itstotality,containsgenuine issuesofmaterialfactpertaining to the

    circumstancesconfronting Sgt.Custeron the nightoftheshooting.

           To begin with,the record reveals a minor,butnonetheless significant,m odification in

    Custer'sdescriptionofhisinitialencounterwith Adams.lnitially,Custerclaim edthatAdamswas

    hostileandaggressivefrom theoutsetandbecameevenm oreso afterCusteridentifiedhim selfasa

    1aw enforcem entofficer. HeclaimedthatAdam scontinued scream ing and lûacting likealunatic.''

    Later,afterCusterhadbecom eawareofAgent'sDrum mond'sobservationsofCuster'sandAdmns'

    interaction (Custerand Adamstalking peaceably),Custeracknowledged therehad been afew

                                                  11
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    m inutesinterlude ofcivildiscussion.

           Therecord also revealsothersubtleevolutionsinCuster'sdescriptionoftheeventovertime

    which,w hile certainly not determ inative standing alone,could in com bination w ith the forensic

    evidenceleadajurytoquestionCuster's credibilityontheprimaryfactualdebatetmderpinningthis
    controversy. For example,in Custer's initialrecounting ofthe eventto first responders,as

    summ arized byDet.Neum an,Custersaid Adam shad ûtbattered''him ,çsforcing him to firehisduty

    weapon.'' Sim ilarly,in hissecond radio broadcastsforback-up help,at11:42 p.m .,Custersaid,

    Sdshots tsred;w hite m ale ran inside,cam e atm e and atlacked m e atone point.''

           The liuse of force''reportauthored by Sgt.Com bs also cites Adam s' physicalattack on

    Custerasthesole precipitatorofCuster'suseofdeadly force gDE 175-14,p.11(iûM r.Adams
    grabbed SergeantCusterby thethroatarea. SergeantCusterw asable to use hishandsto break M r.

    Adam s'hold.Theconfrontation continued leading SergeantCuster,in fearforhislife,to discharge

    hisdutyfirearm fourtimes.....51.Yetagain,inaffidavitsdated M ay 17,2012,preparedintheearly
    m orning hours after the shooting in supportof an application for a search w arrantofthe A dam s'

    residence --presumablybased on imm ediateinfonuationsupplied by Custeronthescene-- PBSO

    detectivesIrisReyesand ChristopherFarron describethe l'choking''incidentasthe soleprecipitation

    forCuster's use offorce againstAdam s- w ith no m ention ofany furtive m ovem entsorperceived

    attem ptsby a non-com pliantA dam sto retrieve a w eapon from hisvehicle:

           Sgt.Custeridentified him selfto Seth Adnm sasaDeputy Sheriff,repeatedly. Seth
           Adam sthen began to attack Sgt.Custerand started choking him . Sgt.Custerbroke
           free from Seth A dam s'hold and pulled out his departm ent issued handgun. Sgt.
           Custerdischarged hisfireanu fourtim es atSeth Adam s striking him three tim es in
           the chest. Seth A dam sran aw ay from Sgt.Custerafterthe shotsw ere tired and into
           the property which w as 1950 A Road,Loxahatchee.

     gDE 202-1,p.5;DE 202-2,41.
                                                    12
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          lnaswornstatementgivenin thepresenceofhisattorneyonM ay 18,2012,however,Custer

   testified thathe becam e fearfulforhis life,causing him to shoot,when Adam s,whom he had

   %tpirmed''ort'caught''betweenthedriver'sside doorand vehiclefram ewithhisfootpressedtothe

   door,brokefreeandspunaroundtowardhim withhisa.
                                                rm raisedgDE 202-3,p6-71.6In deposition
   testimonygiventwo yearslater,Custerintroducedtheconceptthathesaw Adam sttfishingaround''

    insidehisvehicleduringthe5to 10 secondshehadhim pinnedbetweenthedriver'ssidedoorand

    vehicle frame,and claim ed thathe took his firstshotwhen Adamsbroke free ofhishold and he

    suddenlycametûspilming''aroundtowardhim atthatspecificlocation gDE 95-2,pp.26-271.
           W hiletheremay beseveralexplanationsforthedevelopm entinCuster'sdescriptionofthe

    preciseconductprecipitatingthegunfire,itisyetoneadditionalfactorforconsiderationbyajuryin
    assessing Custer's credibility as it relates to the factualcircum stances confronting him which

    allegedly gave riseto and justified hisuseofdeadly force.7 Thatis,Custer'svariations in the
    recounting ofthe shooting createan issue ofcredibility going to theweightofCuster'stestimony,

    andwouldentitleajurytorejectit.
           PortionsofCuster'stestimonyarealsoinconsistentwiththatofotheragentsatthescene.For

    example,AgentDrum mond ttstified he heard a cautionary t'shotsfired'' radio broadcastfrom


           6lnhisswornstatementtotheDet.Neuman,givenMayl8,2012 (DE202-3,p.9),Custersaid hemadethe
    decisionto usedeadly forceashehelda strugglingAdamspinned between thedriver'ssidedoorand vehicleframe,
    çetryingtogetoutofthedoor,''whenheKtsaw hisannscoming around''towardhim.Fora ççfew seconds''hewasvery ,
    veryconvinced(Adams)hadobtainedaweapon,afirearm oranythingelse''from thevehicledischargedhisfirearm as
    heltsaw hisarmscoming round.''Heconcluded:
            (Blasedontheeventswithhim tryingtochokeme,his,hisrepeatedrefusaltosuccumbcometo(sic).
            youknow,mycommandsthathewasunderarrest,Iwasvery,veryfearfulthathewas-hewasintense
            onharmingme,killing me. Iwasvery,veryscared formylifeand feltitnecessary toutilizedeadly
            force....
            ?Seee Mccormickv.CityofFortLauderdale,333F.3d1234(11*Cir2003).C/Lanev.CelotexCorp.,782
                 thg.
                   Cir l986).Adelman-Tremblayv.JewelCompanies,lnc.,859F..2d517 521(7thCir.1988).
                 .
     F.
      2d 1526 (11 .         ,                                                 ,
                                                      13
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    AgentSchumm,momentsbeforeheheard Custerbroadcasthisfirstrequestforbackup-testimony
    whichisatcomplete oddswith Custer'sclaim thathemadehisinitialbackup requestwhilehehad

    Adam sheld atgunpointinfrontofhim -beforeAdam sallegedlyrantowardhisvehicleandbecam e

    pinned insidethedriver'ssidedoor.

           Further,there is photographicevidence w hich callsinto question Custer'sclaim thatA dam s

    grabbed him by the throatiûashard as a m an could grab you.'' The photographs ofCuster'sneck

    taken atthe sceneby PBSO crim escene investigatorM aryBainsshowed no sign ofredness,bruising

    or other m arks on Custer's neck,and a D N A sw ab of Custer's neck revealed a trace am ountof

    som eoneelse'sDN A ,butitwasllinconclusive''asto A dam s,and could havebeentheresultofblood

    splatterorsaliva.

           Detective Neuman's description of Adam s' pick-up with liboth doors...closed''in the

    imm ediateaherm athoftheshootingalsoraisessom equestionon thereliabilityof Custer'saccount.

    There isno testimony from Custerthathepushed thedoorclosed aftertheshooting. W hileAgent

    Zuccaro,afirstrespondertoCuster'scallforback-up,toldDet.Neumanthatheçlclearged)theblack
    truckgAdamsvehiclelforotherthreats''beforepositioninghimselfontheOneStopproperty,there
    is no evidence thathe or any other officeraltered the configuration ofA dnm s'truck in any way

    before PBSO crim inalinvestigatorsarrived and began recording evidence found atthe scene.This

    physicalevidence regarding the configuration ofthe driver's side door ofA dam s'truck - ive.as

    llclosed''- m ay have som e explanation,but,standing alone as it does in the current sum m ary

    judgmentrecord,doescreatesomecontlictwithCuster'sdescriptionofAdams'alleged çsspilming''
     outand t'pushing open''ofthe driver's side dooratthe pointofinitialgunfire.




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          ln addition to theseshiftsin Custer's description ofthe eventsleading up to theshooting,

   andcertain inconsistenciesbetween hisdepositiontestimonyandthatoftirstresponders,therecord

   containsphysicalevidence which isreasonably interpretedto supportaverydifferentversionofthe

   event. Thus,in disputing Custer's account,the Plaintiffrelies prim arily on forensic blood and

   ballisticevidenceto substantiatehercontcntion thatthereisatleastagenuineissueofdisputedfact

   on thequestion ofwhereAdam swasstanding atthetime Custerfirstfired.Thecourtagreesthat

    this physicalevidencesupportsareasonable,contrary inferencethatAdamswasnotstanding in or

    near thedriver'ssidedoorofhis vehicleatthetimeofCuster'sfirstshot,butratherwasstanding

    empty-handed and unarmed behindhisvehicle,in a positionposingno im mediatethreatofserious

    bodily harm to Custer.
           Specitically,blood splatterevidence on thetruck,blood trailevidenceon theground,and

    ballistic evidence recovered by crim e scene investigatorscomprise a body of physicalevidence

    which supportsareconstructionoftheeventplacing Adam sbehindorneartherearwheeltireofhis

    pick-uptruckatthetimeofthefirstshot.Forexample,thespentprojectilefoundatstanchionl'six''
    (containingimbeddedbonefragment),locatedseveralfeetbehindAdams'truck,isconsistentwith
    a forensicreconstruction placing Adam sbehind hisvehicle - with nothing to im pede the bullet

    trajectory--atthetimeofCuster's firstshot.Suchatrajectoryisalsoinconsistentwiththenotion,
    advancedby Custer,thatAdamswasfirstshotstandingin betweenthedriver-sidedoorandvehicle

    fram e,where absorption orricochetoffthe vehicle frnme would likely have created a different

    trajectory.
            Forensic evidence also show sthatbullets from the second and third shots pierced A dam s'

     chest,entering his leftrib cage and perforating hisrightlung,liver,stom ach and spleen.G iven the


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    disparity in heightbetween two m en --with Custerstanding at approxim ately 558'and Adam sat

    approximately 6'2''--and theinternallodging pointsofthesebullets,ajury could concludethat
    Adam s w ashunched over,bentatthe w aist,w hen the second and third shotsw ere fired,paused at

    the pointoforigin oftheblood trail. Plaintiffhasalso adduced experttestim ony identifying the

    poolofblood found nearthe rightrearwheelofAdams'pick-up truck asthepointoforigin for

    Adam s'blood trail.Thisevidence,togetherwith blood splatterfound on therearpanelofAdams'

    vehicle,isalsoconsistentwiththeview thatAdam swasstandingbehind orneartherightrearwheel

    ofhis vehicle atthe tim e Custerfired his tirstshot.

            Custer's claim that he fired his first shotafter A dam s - standing pinned between the

    driver'ssidedoorandvehiclefram e,tlfishingaround''inside ---suddenlybroke freefrom Custer's

    chokehold and spun around shouting obscenities,is thusatcom plete oddsw ith forensic blood and

    ballisticevidencewhichisreasonably susceptibleoftheconclusionthatAdamswasstandingbehind

    ornearthedriver-side,reartireofhistnzck atthetime ofthe firstshot.

            In sum ,the record evidenceasa w hole,view ed in thelightm ostfavorableto theplaintiff,is

    reasonablysusceptibletothefollowing inferences:(l)AdamsdidnotgrabCusterbythetllroator
    otherwisecommitaforciblebatteryonhispersonpriortotheshooting,and(2)Adamswasstanding,
    unarm edand em pty-handed,behind ornearthereardriver-sidetireofhispick-up truck atthe time

    Custertired his first shot, well beyond thereach ofanyinteriorcompartm entofthe vehicle.

           D efendants assert these are not reasonable inferences, and that plaintiffs hypothetical

    reconstruction isentitled to nocreditforsummaryjudgmentpurposesbecauseitisbasedon the
     speculative assum ption that w ounds from the tirst gunshot caused im m ediate bleeding w hich

    collected on the ground beneath Adam satthe pointofimpact. Defendantscontend there isno


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           expertmedicalevidencetosupportthisassumption,andthatitisjustasplausibleAdamswasshot
           while lodged between the driverdoor and truck frame - as contended by Custer --then then

           staggeredbackandforthtowardtheleftrearwheelofhisvehicle(whereapoolofbloodcollectedas
!
è
:
           hepaused),creatingasingletrackofbloodasAdamskûdoubledback''overthesamegroundtoward                 J
                                                                                                              I
(                                                                                                             !
           thedriver'ssidedoor.
'
(

,
                   However,itisforthejury,notthe court,toweigh a11the evidence and choosebetween
j           competinginferences.ltissuftscient,forsummaryjudgmentpurposes,thattheevidencesupportsa
            reasonableinferencethatAdam sdid notgrab Sgt.Custer'sneck duringtheconfrontation,and that

)           Sgt.Custertiredatan unanned,em pty-handedAdam sstanding behindorneartheleftrearwheelof

t
.
            the pick-up truck.
è
                            I1.PROCEDUM L HISTORY :CLAIM S AND DEFENSES
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y
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,
                   Lydia Adams,asPersonalRepresentative ofthe Estate ofherson,Seth Adam s,filed the
'
(
r.
E           instantj 1983actionagainstSheriffBradshaw,inhisofficialcapacity,andSgt.M ichaelCuster,in
'



            his individualcapacity,alleging thatCuster illegally detained Adam s and used excessive force

            againsthim in violation ofthe Fourth Am endm ent,and w as deliberately indifferentto hisserious

:           medicalneedsinviolation oftheFourteenthAmendment(Counts1,2).Plaintiffalsoassertsthat

    '
            Custer'sunzeasonableuse ofdeadly force constituted an intentionalbatteryupon Adamssand that

    7       Custer'sfailure to personally renderm edicalaid to Adam sconstituted negligence;on these twin
    /
    @        rounds,plaintiff asserts state 1aw wrongfuldeath claim s againstboth the Sheriff and Custer
    ,       g

            (Counts3,4).
    )
    ,
    '               lnhiscurrentmotionforsummaryjudgment,Sgt.Custercontendsheisentitledtojudgment
    )
             asa matteroflaw on the j 1983 claimsbecausethe evidence doesnotreasonably supportan

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   inference that his conduct rose to the level of a constitutionalviolation under the Fourth or
   Fourteenth Am endm ents. Specifically,Custercontendsthateven ifhewasatrespasserontheçtone

   Stop Garden Shop''property,Adam s, having been advised that Custer was an on-duty law

   enforcementoffieer,hadnorightto chokehim ,andoncehedid,Custerhadprobablecausetoarrest

   Adam sforbattery on 1aw enforcementoftscer. W hen Adamsignored Custer'scomm and to getto

    theground and,instead,ran to reach insidehisvehicle,Custerhadareasonablefearforhislifeand,

    therefore,wasjustifiedinusingdeadlyforce.Furthennore,Custercontendsheisentitledtoqualitied
    immunityforanyconstitutionalviolationsarising from hisconduct.Onthestatelaw claims,Custer

    contendsheacted in thecourseand scopeofhisemploym entatal1materialtimesand istherefore

    immunefrom personalliability underFla.Stat.j728.28(9)(a).
           TheSheriffcontendsheisentitledtojudgmentasamatteroflaw on the j 1983claims
    because the record does notreasonably supporta finding thatCuster's conduct constituted a

    constitutionalviolation.Moreover,relyingontheSupremeCourt'sdecisioninMonellv.Dep 'tof
    Soc.Servs,436U.S.658,694,98S.Ct.2018,56L.Ed.2d611(1978),heassertsthatthereisno
    basisforimposition ofmunicipalliabilityagainsthim forthatconductunder theoriesofunofticial

    custom (persistentandwidespreadpractice),ratitication,orfailureto superviseandtrain.Onthe
    state law claims,the Sheriffcontendshe isimmunefrom suitunderj728.28(9)(a)underthe
    doctrineofsovereign imm unitybecause plaintiffallegesinhercomplaintthatCusteractedoutside

    thecourseandscopeofhisemployment,orwithbadfaithand maliciousm otive,conductwhichlies

    outside the boundariesof Florida's lim ited sovereign im m unity w aiver.




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                                  111.   SUM M ARY JUDGM ENT STANDARD

                     Summaryjudgmentmaybegrantedonlywherethemovantshowsthatthereisnogenuine
(
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           disputeastoanymaterialfact,andthatheisentitledtojudgmentasamatteroflaw.Fed.R.Civ.P.
            P.56(c);CelotexCorp.v.Catrett,477U.S.317,322(1986).A materialfactisonethatiscapable
)
            ofaffectingtheoutcomeoflitigation.Anderson v.LibertyLobby,Inc.,477U .S.242,248,106S.Ct.
)
'                                                                                                            j
'
            2505,91L.Ed.2d202 (1986).
)
                      Inrulingonthem otion,thecourtmustreview a11evidenceandfactualinferencesavailable
q
E           from theevidencek%in the lightm ostfavorableto thenon-moving party,and resolveallreasonable
i
)
(
.           doubtsaboutthefactsin favorofthenon-movant. Skop v.City ofAtlanta,485F.3d 1130,1136
:
)
/
'           (quotingKingslandv.city ofuiami,382Ir.3d 1220,1226 (1lthcir.2004)(
                                                                             ). Thus,t-thet-acts,as
$
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            acceptedatthesummaryjudgmentstageoftheproceedings,maynotbetheactualfactsofthecase.''
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)
t
1                 oughv.Antolini,559F.3d 1201,1202(11thCir.2009)(quotingLeev. Ferraro,284 F.3d
            M ccull
f

.
.
            l1881 1190(11thcir* 2002)).
è
                     W ith specificregard to qualified imm unity questions,theCourtlooksnotatthefactswhich
    J
            thepartiesm ightbeabletoproveattrial,butrather,whethercertain givenfactsshow aviolationof
@
            clearlyestablishedlaw.Shethv.Webstersl45F.3d 1231,1236(11thCir.1998)(quotingytpàrlm nv.
)
.
            Jones,515U.S.304(1995)). TheCourtmustresolveanyfactualdisputesinfavoroftheplaintiff,
            and then decide whetherthe defendantisentitled to qualified im munity underthatversion ofthe

    )       facts D urruthy v.Pastor,351F.3d 1080,1084(11tbCir.2003).
                 .



    ê                ln Reeves v.Sanderson Plumbing Products,Inc., 530 U .S.133, 120 S.Ct.2097,147
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                 d 105 (
                       2 000)
                            , the Suprem eC  ourtreit
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                                                           hata courtr
                                                                     eviewinga m oti
                                                                                   onfor s
                                                                                         um m ary
            judgmentmustdraw allreasonable inferencesinfavorofthenon-movingparty,andmustnotinvade
    q
    .
    ?
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                                                           19
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   thejury'sprovincebymakingcredibilitydeterminationsorweighingtheevidence,highlightingthat
    in doing so thecourtisobligated to review therecord asawhole,andûûmustdisregard al1evidence

    favorabletothemovingpartythatthejuryisnotrequiredtobelieve.''1d.at151.Evidencefavoring
    the non-movant should be credited,as should itevidence supporting the m oving party that is

    uncontradictedand unim peached,atleasttotheextentthatthatevidencecom esfrom disinterested

    w itnesses-''Id.
           Reeves isnotinterpreted to m ean,conversely,thattestimonialevidence com ing from an

    interested witness,even ifuncontradicted,mustbedisregarded atthesummaryjudgmentstage.
    LaFrenierv.Kinirey,550F.3d 166,168(1StCir.2008).Rather,itisgenerallyacknowledgedthat
    courtsshould accept,forsummaryjudgmentpurposes,theuncontradictedtestimony ofinterested
    witnesses,unlessthattestim ony istiinherently im plausible.'' fauren rf'
                                                                           r v.DeFlaminis,480 F.3d

    259(3dCir.2007);Dennisv.Osram Sylvania,lnc.,549F.3d 851(lStCir.2008);Sandstadv.C#
    RichardEllis, Inc.,309F.3d 893(5thcir.2002).
           Finally,inferencesreasonablyavailablefrom medicaland forensicevidencemay beusedto

    show theexistenceofgenuineissuesofm aterialfact.kûsuchinferencesareoftennecessarywhenthe

    plaintiffssole eyewitnessisdead...and casesmay alwaysbeproven by circum stantialevidence

    wheredirectevidenceisunavailable ''M orrelv.Frank,332F.3d 1102,1117(7tbCir.2003).lkW ere
                                      .



    itotherwise,aplaintiffm ightneverprevailonanexcessiveforceclaim wherethevictim isdeadand

    thedefendant-policeofficeristhesolelivingeyewitness.''Seep/1/cJ.
                                                                   &v.Drinski,19F.3d 1143,1147

    (7tbCir. 1994), ccr/.den.,513 U.S.820 (1994) (award ofsummaryjudgmentto the defensein
    deadlyforcecasesm ustbemadewith particularcarewheretheofficerdefendantistheonlywitness

     leftalivetotestify).

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                                          lV.CLAIM S

          A.SECTION 1983 FO URTH AM ENDM ENT CLAIM S -DEFENDANT CUSTER

          Title42,j1983oftheUnitedStatesCodeprovidesacivilremedyforthedeprivationofany
   rights,privileges,orimmunities secured by the Constitution and federallawsby aperson acting

    undercolorofstatute,ordinance,regulation,custom orusageofanystate,tenitoryortheDistrictof

    Columbia.Personsfoundtobeinviolationofthisstatuteareliabletothepartyinjuredinanaction
    atlaw,suitin equity,orotherproperproceeding forredress.42 U.S.C.j1983.ln thiscase,the
    Plaintiffseeksredressunderj1983claimingthatCusterviolatedherson'sFourthAmendmentright
    tobefreeofdetentionwithoutprobablecause,aswellashis righttobefreefrom excessiveforcein

    theconductofeffecting adetention orarrest. Oraham v.Connor,490 U .S.386,389,109 S.Ct.

    1865,104L.Ed.2d443(1989).
           Underj1983,governmentofficialswhohaveviolatedrightsconferredbyfederalstatutesor
    theConstitutionmaybesued in theirindividualcapacities.However,publicofûcialsareordinarily

    shielded from personalliability fordiscretionaryactionsundertakenduringtheiremploymentunder

    the conceptofAûqualified immunity,''allowing publicofficialsto carry outtheirjobseffectively
    withoutfear ofa lawsuit. This doctrine protects Hallbutthe plainly incom petentorthose who
    knowinglyviolatethelaw ''u ccoyv.webster,47F.3d404,407(lltbCir.1995)(quotingAm //ey v.
                           .



    Briggs,475U.S.335,341,106S.Ct.1092,89L.Ed.2d271(1986)),and balancestwo important
    interests:theneed to hold accountableapublicofficialwhohasirresponsiblyexercisedhispower

    and the obligation to protectfrom liability an ofticialwho has reasonably performed hisduties.

    Singletaryv Pr
               . argas,804F.3d 1174(11t
                                      hCir.2015)(quotingPearsonv.Callahan,555U.S.223,

     231,129S.Ct.808,172L.Ed.2d 565(2009)).

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            To invoke qualified im m unity,Custerm ustshow thathe w asacting w ithin the scope ofhis

    discretionaryauthoritywhentheinjuriestoAdamsoccurred.Discretionaryauthorityinthisspecitic
    contextincludes'dallactstaken pursuantto the perform ance oftheofficial'sdutiesw hich arew ithin

    thescopeofhisauthority,includingministerialacts.''Hadleyv.Gutierrez,526F.3d1324(11thCir.
    2008);Richv.Dollar,841F.2d 1558,1564(11thCir.1988).
            TheevidenceregardingCuster'sinterfacewith othermem bersofthePBSO TAC uniton the

    nightoftheshooting,hisattire(includingaTAc-logo t-shirtunderhisoutershirt,duty weapon
    holsterandpoliceID badgeclippedtohisbeltl,andhisuseofaPBSO vehicle,cellphoneandlaptop,
    overw helm ingly pointto the conclusion thatCuster was on-duty and exercising his discretionary

    authority asa m em berofPBSO law enforcem entduring hisencounterwith Adam s.The Courtthus

    assumes,forsummaryjudgmentpurposes,thatCusterwasactinginhisdiscretionaryauthorityat
    the tim e ofthe shooting.

            W ith thispredicate,the analysis turns to the issue ofwhether Custeris entitled to qualified

     immunityforallegedm isconductcomm ittedwithin thescopeofthatauthority.Here,theburden is

     onPlaintifftoshow thatCusterdoesnotmeritqualifiedimmunitybecause:(1)thefacts,construed
     inPlaintiffsfavor,show CusterviolatedAdams'constitutionalrights,and (2)thelaw,atthetime
     ofthe alleged m isconduct, clearly established the unconstitutionality ofthatconduct.M ccullough

     vAntolini,559F.3d1201(11thCir.2009);Vinyardv.Wilson,311F.3d1340,1346(11tbCir.2002).
      .




     Onthesecondprong,anobjectivestandardapplies;anofticercanbeheld liableonlyifthelaw so
     clearly established the w rongfulness ofhis conductthatany reasonable ofticer in hisplace w ould

     haveunderstoodthathewasviolatingthePlaintiff'sconstitutionalrights.Plumhoffv.Rickard,



                                                     22
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          DID CUSTER VIO LATE ADAM S'FOURTH AM ENDM ENT RIGH T TO BE FREE
          FR O M U NR EA SO NA BLE CSSEIZUR E''BY U SIN G EX CE SSIV E FO RC E?

          Plaintiffclaim s - regardless ofw hetherthere w asprobable cause to arrestA dam s --- that

   Custerused excessive force when he shotand killed herson, in violation of Adams'Fourth

   Amendmentrighttobefreefrom unreasonableseizurebyuseofexcessiveforce.çtgAlpprehension
    bytheuseofdeadly forceisaseizure ....''Tennesseev.Garner,471U .S.1,7,105S.Ct.1694,85

    L.Ed.2d 1(1985).
            Underprevailing Supreme Courtprecedent,ilallclaim sthat1aw enforcem entofficershave

    usedexcessiveforce- deadly ornot- inthecourseofan arrest,investigatorystop,orotherûseizlzre'

    ofafreecitizen shouldbeanalyzedundertheFourth Amendm entand itsûreasonableness'standard.''

    Graham v.Connor,490 U.S.386,395,109 S.Ct.1865,104 L.Ed.2d 443 (1989);Crenshaw v.
    Lister,556F.3d 1283(11thCir.2009). Thist'reasonableness''inquiryrequires courtstocarefully
    balance 'Vthe nature and quality ofthe intrusion on the individual'sFourth Am endm entinterests

    againstthecountervailinggovernm entalinterestsatstake.''Graham,490 U .S.at396,109S.Ct.at

    1871.
            Thisanalysis isnotcapable ofprecise definition ormechanicalapplication,but(çrequires

    careful attention to the facts and circum stances of each particular case.'' G raham at 396.

    Reasonablenessinthiscontextdependson a1lcircum stancesrelevantto an officer'sdecisiontouse

    fOCCC,Jean-Baptistev.Gutierrez,627F.3d816(11tbCir.2010),includingtheseverityofthecrime
    atissue,whetherthe suspectposed an immediatethreatto the safety ofthe officerorothers,and

    whetherthesuspectactivelyresisted arrestorattemptedtoevadearrestbyflight.Crenshaw at1290.

     Further,tsgtlhecalculusofreasonablenessmustembodyallowanceforthefactthatpoliceofficers
     areoftenforcedtomakesplit-secondjudgments- incircumstancesthataretense,uncertain,and
                                                   23
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    rapidlyevolving-abouttheamountofforcethatisnecessaryin aparticularsituation.'' Plumhoy
     134 S.Ct.at2020.

              $1A sin otherFourth A m endm entcontexts... the 'reasonableness'inquiry in an excessive

    force case is an objective one:the question is whether the officers'actions are tobjectively
    reasonable' in light of the facts and circum stances confronting them , without regard to their

    underlying intentormotivation.'' Graham at397,109 S.Ct.l865. Thus,Slgaln officer'sevil
    intentionswillnotmakeaFourthAmendmentviolationoutofanobjectivelyreasonableuseofforce;
    norwillanofticer'sgoodintentionsmakeanobjectivelyunreasonableuseofforceconstitutional.''
    f#.,citingScottv.Unitedstates,436U.S.128,138,98S.Ct.1717,1723,56L.Ed.2d 168(1978).
            The Courtis thereforeobligated to look atthe underlying factpattern from the perspective

    of a reasonable police officer on the scene w ith know ledge of the surrounding facts and

    circum stances,balancing the risk ofbodily harm to the suspectagainstthe gravity ofthe thzeatthe

     officersoughttoeliminate.M ortonv.Kirlovoo4 707F.3d 1276,1281 (2013).Thisevaluation
    m ustbem adeon acase by case basis,assum ing kçtheperspective ofareasonableofficeron the scene,

     ratherthanwiththe20/20visionofhindsight.''Postv.CityofFortLauderdale,7F.3d 1552(11th

     Cir.1993)(quoting Graham,490U.S.at396)).
           A n officer'suse ofdeadly force ispresum ptively reasonable iftheofticerreasonablybelieves

     thatthesuspectposesathreatofseriousharm totheofficerorothers,and theuseofdeadlyforcein

     thiscontextdoes notviolate the Constitution. Tennessee v.Garner,471 U .S.I,11,l05 S.Ct.,85

     L Ed2d 1(1985);Carrv.Talangelo,338F.3d 1259(11thCir.2003);MacevCityofpalestine,333
     F.3d621,623(5tbCir.2003). This inquirycan bereducedtoasinglequestion:çlW hether,given

     the circumstances,(the suspectjwould haveappeared to reasonablepolice offersto have been

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            gravelydangerous''Penleyv.Eslinger,605F.3d 843(11thcir.2010),citingPacev.capobianco,
                              .




            283F3d1275(11tbCir 2002).
                   Relying onthereasonableinferencesavailablefrom theforensicevidence,andresolvingall

;            conflicting evidence on materialpoints in favorof Plaintiff, as more particularly discussed at
                                                                                                               j
7                                                                                                              j
             section1.D.ç'FactualIssues,''above,theCourtconcludestherearegenuine issuesofmaterialfact          '
                                                                                                               .
(
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             regardingthecireumstancesconfrontingCuster,which,ifresolved byajuryagainstCuster,would
             allow thejurytofindthatCustershotAdamswhenhewasunarmed andempty-handed,standing
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'            behindtheleftreartireofhispick-up truck and wellaway from any interiorcompartm entsofthe
(
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             vehicle.
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î                   Thatis reasonableinferencesfrom theevidencewouldpermitajurytofindthatCustertired
)            onan empty-handed,unarmed Adam sstandingbehind ornearthedriver-siderearwheelofhispick-

             up truck,posing no threatofgrave bodily harm to Custer or anyone else. Underthis scenario,
;

t
l            applyingtheobjectivestandardforuse ofdeadlyforceoutlinedabove,theCourtholdsthatuseof
f
             such deadlyforceto stop ork'seize'' Adam swould constituteexcessive force, in violation ofthe
!
)
i
7            Fourth Am endm entjsprohibition against::unreasonabje sekzure.,,
t
'
J                   Finally, evenassuming ajuryweretoaccepttheaspectofCuster'stestimonydescribing a
ê
r            non-compliantAdamskktlshingaroundN,insidethedoorofhistruck,ignoringCuster,scornmant.jsto

             show his hands,and then suddenly breaking free and spirming outofthe vehicle,there is still,


j            crucially,evidencetosupportplaintiffsassertionthatatthetimeCusterdecidedtoshootAdams,
    '        Adam shadm ovedawayfrom the doorofthevehicleandwas standingunannedandemptphanded
    )

    '        behind his pick-up tnzck,w elloutof reach ofitsinteriorcom partm ents. Consequently,any earlier

    $         fearthatCustermay have had when Adam swas allegedly Sçfishing''around insidehistruck had


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   been neutralized atthe tim eofthe firstshot. ln otherwords,any earlierresistance,aggression or

   furtive movem entsonthepartofAdam swould notlegitimize Sgt.Custer'slaterdecisiontoshoot

   him once thesituationwasneutralized.SeeMonterov.Nkandla,597Fed.Appx 1021(11thCir.
   2014)(noobjectively reasonableofficerwouldshootunanned suspectlyingproneandpinnedto
   ground,regardlessofanypriorreasonsforconcernthatthesuspectm ayhavebeentryingtoreachthe

    officer'sgun duringaphysicalscuftleinthehandcuffingprocess).
           W hether Custer's conduct in shooting Adam s was reasonable depends on whether a

    reasonableofficerin Custer'sshoeswould havebelievedthatAdam swasgravely dangeroustohim

    atthepointin timethatCusterdeployed deadlyforce. Both partiesagreethatthisturnson afactual

    determination asto whetherCusterfired his firstshotasAdam swasûstsshing around''insidethe

    interiorcompartm entofthevchicle,and suddenly came içspirming out''toward Custer,breaking

    Custer'sholdon hishead - ascontended by Custer- orwhetherCusterfired atan empty-handed,

    unarmed Adam s standing behind ornearthe lef4rearwheelofthe pick-up - as contended by

    plaintiff.   Under the Plaintiff's version of the event,which finds evidentiary supportin the

    summaryjudgmentrecord,noreasonableofticerinCuster'sshoescouldhavebelievedAdamsposed
    agravedangeratthatjuncture,andtheuseofdeadly forceagainstAdams in thatposturewould
    thereforebe excessive and unconstitutional.

           ln reachingthisconclusion,theCourtemphasizesitisnotmaking anyjudgmentastothe
    ultim ate facts,orthe com petence ofCuster. Rather,the Courtsimply concludes,based on the

    currentsummaryjudgmentrecord, itisnotpossibletodeclare theevidencesofreefrom dispute
    thatsummaryjudgmentcan beentered fordefendant.Thisfollows,because,asthechronology
     outlined aboveindicates,thereisacriticalfactdisputeastowhetherCustershotatam an who was


                                                  26
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    pinned the driver'ssidedoorand fram eofhisvehicle, 'ifishing around''insidein defiance ofthe

    officer'scomm and to show hishandsand geton the ground,orwhetherCuster shotan unarm ed,

    empty-handed man standingbehindthe vehiclewithoutaccesstoany ofitsinteriorcompm ments.

    See Jackson v.Holyman,933 F.2d 401,403 (6thcir.1991)(summaryjudgmenton aclaim of
    excessive force is inappropriate where the parties' dispute virtually a11 of the essentialfacts

    surrounding the excessive forceclaim ,because itisim possible to detenuine w hetherthe force used

    wasreasonablewithoutchoosing between thepartiessharplydifferentactualaccounts).
              a.      W AS TH E CONSTITUTIONAL RIGHT CLEARLY ESTABLISHED ?

           Even thoughareasonablejurycouldfind Sgt.Custer madean unreasonablet'seizure''of
    SethAdamsbyusingdeadlyforceagainsthim inthecourseofadetentionwithoutlegaljustification,
    Custerm aystillclaim qualified imm unityifAdam s'rightto befreeofsuch force wasnotttclearly

    established''atthetime oftheshooting.

            Forarighttobed'clearlyestablisheds'''thecontoursoftherightmustbesufficientlyclearthat

    reasonable official would understand that w hat he is doing violates that right.''Anderson v.

    Creighton,483U.S.635,640,107S.Ct.3034,97L.Ed.2d 523(1987);Hopev.Pelzer,536U.S.
     730,739,122S.Ct.2508(2002).In excessiveforceclaims,plaintiffcanestablish therightwas
     i
     'clearlyestablished''intwoways:(l)bycitingcontrollingandmateriallysimilarcase1aw declming
     theofficial'sconductunconstitutional,or(2)bydemonstratingthattheofficial'sconduct liesso
     obviously atthe core ofw hatthe Fourth A m endm entprohibitsthatthe unlaw fulnessofthe conduct

     shouldhavebeen readily apparenttotheofficial,notwithstandingthelackofcaselaw.Priesterv.

     C'
      1%'ofRiviera Beach,208 F.3d 919,926 (11tbCir.2000). ln thiscontext,the'lcontrolling and
     m aterially sim ilarcase law ''m ustcom e from the Suprem e Courtofthe U nited States,theEleventh


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    CircuitCourtofAppealsorthehighestcourtoftheStatewhose1aw isatissue.Hamiltonv.Cannon,

    80F.3d 1525,1531(1lthCir.1996).
           Viewing the evidencein the lightmostfavorable to Adam s,Sgt.Custerintentionally fired

    fourcloserangeshotsat an empty-handed Adam swhen he wasstanding wellbeyond reach ofthe

    interiorcompartm entofhisvehicle,and therefore,atatim ewhen Adam sposednorisk ofharm to

    Custer.Underwell-established SupremeCourtand Eleventh Circuitprecedentin effectatthetim e

    ofthisincident,no objectivelyreasonableofficerin Custer'sposition couldhavebelievedthathe
    wasentitledto usedeadly forceto lkseize''Adam sin thisscenario.

           ltwas clearly established atthe time ofthe shooting that itwas a Fourth Amendment

    violation to seizeanunarmed,non-dangerouscivilianby shootinghim dead.Tennesseev.Garner,

    47lU.S.1,105S.Ct.1694(1985);Torresv.Cit
                                          yof Madera,648F.3d1119(9thCir.20ll).Under
    Garner,Sgt.Custerwouldhavebeenonclearnoticethatdeadlyforcewould bejustifiedonlyifhe
    had probable cause to believe Adam s posed athreatofseriousphysicalharm eitherto him or

    others.Underthem ostfavorableview oftheevidencetoplaintiff,Adam sdidnotposesuchagrave

    danger.
           Custer also had fairwam ing from Eleventh Circuitprecedentthatshooting an unarmed

    person who isnot acting in m armerposing a risk ofgreatbodily hal'
                                                                     m to an officerviolatesthe

    suspect'sconstitutionalrighttobefreeofexcessiveforce.Seee.g.Mercadov.Cityoforlando,407
    F 3d 1152(11thcir.2005)(useofdeadlyforceto subduesubjectinnon-deadly situationviolates
      .



     detainee'sclearlyestablishedFourthAmendmentrights/,'Pruittv.Cityof M ontgomery,771F.2d
     1475F 1477(11tbCir.1985)(cityheldliableforofficer'sintentionalfiringatsuspect'slegsinattempt
     to stop suspectfrom tleeing allegedburglary site,despiterefusalto obey ordertohalt,wherethere


                                                  28
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)
                was no evidence thatsuspectcom mitted orthreatened to comm itcrime involving intliction of
'



)
è               seriousphysicalharm);fundgrenv McDaniel,814F.2d600(11thCir.1987)(affirmingverdictin
                                                 .

'
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;'
                favorofsuspectinburglaryofvideostorewhowasshotbyofficers,whereevidence,inlightmost
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'
C               favorable to plaintiff,showed thatsuspect did notreach forweapon,threaten officersorshootat

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                         'Vaughanv.Cox,343F.3d 1323(111:21.:1::Cir.2003)(shootingthreeshotsintovehicle ofauto
                officersl,
j

,
                thiefsuspects who were evading arrestand who had accelerated to eightto eightp five m iles in

q               seventymphzoneheldexcessive).
è
7                      ln sum,underthe mostfavorable view ofthe evidence to the Plaintiff,no objectively
i
î               reasonable officer in Custer's position could have reasonably believed he was entitled to shoot
j
)               Adam s atthe tim e and in the m anner he did. Accordingly,DefendantCusterisnotentitled to
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(
'               qualifiedimmunityasamatteroflaw,andhismotionforsummaryjudgmentbasedonthisdefenseis
)'
è
'
                appropriately denied. See e.g.Caruthersv.Mccawley 2008 W L 4613048 (M .D.Fla.2008)
)
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L
                (denying summaryjudgmentin j 1983excessiveforceclaim where bankrobberysuspectexited

    ,
                hotelwith annsin airand announced he wasunanned,and officershothim once in chestashe
)

t               walked towardhim,andthreemoretimesashetried tonm away).
'
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                    2. D lD C U STER V IO LA TE A DA M S'FO U RTH A M EN D M EN T R IG H T TO BE FR EE
                       O F AN U N REA SO N ABL E CCSEIZUR E'' BY A RR ESTIN G H IM W ITH O U T
    ?
    r                  PRO BA BLE C AU SE?

    t                 UndertheFourthAmendment,Adamshadaconstitutionalrighttobefreefrom unreasonable
    L
    l
                 seizure.A seizureoccurswhen 1iaperson'sfreedom ofm ovem entisrestrainedbymeansofphysical
    5

    l
    i            forceorby submission to ashow ofauthority,''w hichincludesan arrestordetention.Unitedstates
    è
    t
    c            V.Al
                    len,447Fed.Appx.118,120(11thCir.2011)(percuriam).Anan-est,acompleteseizure,must
    j
    '

    )
                 besupportedbyprobablecause.Unitedstatesv.Blackley,439FedAppx.803(11th Cir.2011)(per
    ;

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    curiam).Anarrest,ordetention,withoutprobablecauseviolatestheFourthAmendment,andisthus
    anunconstitutionalseizure.Redd v.City ofEnterprise,140F.3d 1378 (11thcir.1998).

            Probablecause toarrestexistswhenanarrestisobjectivelyreasonable basedonthetotality
    ofthecircumstances.Durruthy v.Pastor,351F.3d 1080 (1lthCir.2003). Thisstandard ismet
    wherethefactsandcircum stanceswithintheofticer'sknowledge,ofwhichheorshehasreasonably

    tnlstworthyinfonuation,would causeaprudentperson to believe,underthe circumstancesshown

    thatthesuspecthascom mittediscomm ittingorisabouttocom m itanoffense.Even ifnoprobable

    cause exists,officers making an arrestare entitled to qualified imm unity so long as 'targuable

    probable cause for the arrest''exists.Durruthy,at 1089. This m eans an officer has qualified

    immunityaslongashelireasonablycouldhavebelievedthatprobablecauseexisted,''in lightofthe

    infonnation hepossessed,even ifhe wasm istaken in thatbelietl

           Inthiscase,Custercontendshehad actualoratleastarguableprobablecausetoarrestAdams

    forthecrim eofbattery on alaw enforcem entofficer,and thathe wasalso entitled to usetheforce

    necessary to effectsuch an arrest. Theelem entsofthe crim e ofbattery on apolice officerunder

    Florida1aw consistof(1)knowingly(2)actually(3)intentionally(4)touchingorstriking (5)against
    his will(6) a 1aw enforcementofficer (7)engaged in the lawfulperformance ofhisduties.
    Mordicav State,618 So.2d301(Fla.1StDCA 1993).8Thisisaspecitic intentcrimeandrequiresa
               .




     subjectiveintenttoaccomplishastatutorilyprohibitedresult.1d.at304. Thatis,aconvictionfor

     'section 784.07(2),Fl
                         orida Stamtes,definesthiscrimeasfollows:
              W heneverany person ischarged with knowingly comm itting an assaultorbattery upon a law
              enforcem entofticer....whiletheom cer.....isengaged in the Iawfulperform anceofhisorher
              duties,theoffenseforwhichtheperson ischarged shallbereclassifiedasfollows:

              (b)inthecaseofbattery,from amisdemeanorofthefirstdegreetoafelonyofthethirddegree.

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    battery on alaw enforcem entofficerrequiresproofofthe specificintentofknowingly battering a

    law enforcem entofticer.

          Inthiscase,thereare genuineissuesofmaterialfactwhich,ifresolvedby ajury against
    Custer,wouldallow thejuryto findthatCusterhadneitherprobablecausenorarguableprobable
    cause to arrestAdams. The sole basis forthe attempted arrestofAdnms isCuster'sclaim that

    Adam schoked him ,grabbing him ashard asa m an could grab a person. The lack ofconoborating

    physicalevidence,coupledwith otherinconsistenciesinCuster'stestimony,wouldallow ajuryto
    rejectCuster'stestimonyin totalonthispoint.
           IfCuster'stestimony regardingthechoking isdisbelieved by the finderoffact,theprimary

    elementsofthecrim edid notexist,and Custerwould havehadno probablecauseto arrestAdam s

    forbattery on a1aw enforcementofficer.Further,areasonableofficerin Custer's position would

    haveunderstood hewasviolating thePlaintiff'sconstitutionalrightsby attem pting to detain him

    underthose circumstances,i.e.declaring him underarrestand ordering him to theground.

           Thus,the Court finds sufficientevidence to raise genuine issues of m aterialfacton the

    thzeshold question ofwhetherCusterhadltprobablecause''toarrestordetainAdnm sforbatteryona

    law enforcem entofficer,and whetherheisentitledtoqualified imm unity forhisconductinplacing

    Adam sunderarrest.

    B. FO UR TEENT H A M EN DM ENT DU E PR O C ESS C LA IM - D EFEN D A NT C U STE R

           The Due Process Clause of the Fourteenth A m endm ent requires governm entofficials to

     provideadequatemedicalcaretoindividualsinjuredwhileapprehendedbypolice.Cityof Rcvere
     v.MassachusettsGeneralHospital,463 U.S.239,244,103 S.Ct.2979,77L.Ed.2d605(1983)
     (1i(TJhedueprocessrightsof a gpre-trialdetaineeqareatleastasgreatastheEighth Amendment

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               protectionsavailabletoaconvictedprisoner);Philli
                                                              psv.RoaneCounty Tenn., 534F.3d 531(6                  p
                                                                                                                    #
                Cir.2008).Claimsallegingdeliberateindifferencetoapretrialdetainee,sseryousme(jyeajjwetjsare         (

                thus subjectto same scnztiny as ifbroughtas deliberate indifference claimsunderthe Eighth
(
                Amendment. Clr/erv.BrowardCtpl/n/ySherff'
                                                        sDept.M edicalDept.,558Fed.Appx.919(11tb
f
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ë               Cir.2014).
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)                     To prevailon a deliberate indifference to seriousmedicalneed case underthe Fourteenth
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)               Amendment,a plaintiffmustshow (1) a seriousmedicalneed (2) the defendant'sdeliberate
i               indifferencetothatneedand(3)causationbetweenthatindifferenceandtheplaintiff'sinjury.Mann
'
y
                v TaserInternational
                 .                 ,Inc.,588F.3d1291(11tjyCir.2009).Toconstitutea:,serious,,meayoajyaitj,
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                itm ustbe one if,leftunattended,posesa substantialrisk ofserioushann.
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t                      A claim fordeliberate indifferenceto seriousmedicalneedshasobjectiveand subjective
i               COmPOnCnts Philli
                             .
                                psv.Roane County Tenn.,5?4 F.3d 531, 539 (6thCir.2008). Theobjective
t
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                componentrequiresshowingtheexistenceofatssufticientlyserious''medicalneed.Philhps,534
E
                F.3dat539. Toestablishthesubjectivecomponent,aplaintiffmustallegeandshow factswhich,if
g
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(               true,wouldshow thatthedefendantsubjectivelyperceivedfactsfrom whichtoinfersubstantialrisk
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'               of harm ; thathe did in factdraw such an inference,and thathe then disregarded thatrisk.

E               Comstock v M ccrary, 272F.3d693(6t)lCir.2001).ltisnotnecessary,however,toprovethatthe
E
                officer acted for lfthe very purpose of causing hanu or w ith know ledge that harm w illresult,''

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    '                  In thiscase,Custerknew that Adam swashitby gunfire and thathe risked seriousharm


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                unlessgivenimmediatemedicalattention.However,thereisnoevidencethatCusterwas
                deliberately indifferentto Adam s'm edicalneeds by delaying his initial request for medical

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    assistanceorin preventing otherofticersormedicalrespondersfrom treating Adnm sim mediately

    upon theiranival. There isno disputethatCusterpromptly called forEM S back-up;defendants

    arguethisisallthattheConstitution requires.PlaintiffarguesthatCusterhad aconstitutionalduty

    to do more,and that,despitehisown FirstAid and CPR certitlcations,Custer didnotpersonally

    rendermedicalassistanceduring theintervalbetween thetimeheplaced thecallformedicalbackup

    and thearrivalofthe medics.

           TheCourtdoesnotfind a disputed issue ofgenuine facton whetherCuster'sconductand

    failureto personally attend to A dam sin thisinten'alrose to levelofconstitutionaldeprivation. As

    expressedbytheNinth Circuitin Maddoxv.City ofLosAngeles,792F.2d 1408,1415 (9thCir.

     lg86ltcitationsomitted):
           The due processclause requiresresponsible governm ents and theiragentsto secure
           medicalcareforpersonswho havebeeninjuredwhileinpolicecustody.W ehave
           found no authority suggestingthatthedueprocessclauseestablishesanaffirmative
           duty on thepartofpoliceofficersto renderCPR in any and a11circum stances.Due
           process requires thatpolice officers seek the necessary medicalattention for a
           detainee when he or she has been injured while being apprehended by either
           promptlysummoningthenecessarymedicalhelporbytakingtheinjureddetaineeto
           ahospital.


    AccordcityofRevere,463U.S.239,234-245(1983)(govermnentfulfilledconstitutionalobligation
    toprovidemedicalcaretopersonsinjuredbypolicewhilebeingapprehendedbyseeingthatsuspect
    waspromptlytakentoahospital);Tatum v.City ofsanFrancisco,441F.3d 1090,1099(9tbCir.
     2006)(policeofficerwhopromptlysummonsthenecessarymedicalassistancehasactedreasonably
     forpurposesoftheFourthAmendment,eveniftheofficerdidnotpersonallyadministercare).
           Plaintiffdoesnotidentifyanycase1aw suggesting thatpersonalm edicalattentionisrequired

     by theConstitution. Because the undisputed factsshow thatCusterdid notviolate thedecedent's


                                                   33
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    righttomedicalcare,theCourtshallgrantCuster'smotionforsummaryjudgmentontheasserted
    FourthAmendmentDueProcessviolation.SeeMasonv.fafayetteCity-parishConsol.Government,
         F.3d     ,2015W L 6988739(5tbc ir.N ov 10,2015)(officer'sconductdidnotrisetolevelof
                                                       .



    deliberate indifference when he called ambulance forsuspectaftershooting;decision to deferto

    otherofficersto attend suspectnotfairly viewed asshowing wanton disregard forseriousm edical

    needs),'Duenezv.CityofM anteca,2013W L 6816375(E.D.Cal.2013).9
            C.      SECTION 1983FO URTH AM ENDM ENT CLAIM -DEFENDANT SH ERIFF

            Astothe j1983 FourthAmendment/excessiveforceclaim againsttheSheriff,thePlaintiff
    contends, first, that the Sheriff ratified the m isconduct of Custer by failing to m eaningfully

    investigate Adam s'death orto discipline Custerforhism isconductin causing it. Altem atively,

    PlaintiffcontendsthattheSheriffsshoddy investigation ofAdam s'hom icideisillustrativeandpart

    ofa long-standing pattern ofsham ofticer-involved shooting investigations,itwhitewashing''and

    exonerations of officers involved in such episodes, a practice w hich effectively ratities and

    encourageslawlessbehaviorby deputy sheriffswith tacit assurancesthattheSheriff willçtwatch

    theirbacks.''

             Second,the Plaintiffcontendsthe Palm Beach County Sheriffs Office is responsible for

    Custer'sconstitutionalviolationsbecause Custer'sconductisillustrative ofa widespread PBSO

    custom andpracticeofusingexcessiveforcetom akearrests.Third,PlaintiffcontendstheSheliffis


             9Even ifpIaintiffproffered enoughtestimonyto raiseafactissueonwhetherCusterhad adutytodomoreto
     assistAdamsduring the intervalbetween the shooting and the arrivalofthe medics,there isafurtherdetk iency in
    plaintiff'sproofsinthatshehasofferednoevidenceoncausation.A districtcourtmaynotgrantsunvrlaryjudgment-
                                                                                                         sl//
    sponteongroundsnotrequestedbythemovingparty,Bakerv.M etropoll'  tan L# Ins.Co.,364F.3d624(5thCir.2004). ,
    Denneyv.SteakN ShakeOperations,lnc.,559FedAppx485(6tbCir.2014)(reversingsununaryjudgmententeredon
    causationissuenotraisedinsummaryjudgmentmotion),and.asthedefendantsdidnotidentifythecausationissueasa
    groundforsummaryjudgment,theCourtdoesnotrelyonthisevidentialy Iapseasthebasisforitsdispositionofthedue
     process1983claim,butsimplyhighlightsthisfurtherdesciency in theproofstocompletethe analysis.

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    responsibleforCuster'sconstitutionalviolationsbecausehefailed toproperly train,superviseand

    disciplinehis officersintheuseofdeadlyforce,andwasnegligentin retention ofCuster,who was

    notcompetentorpsychologically titto be entrusted with the use ofdeadly force. Forexam ple,

    Plaintiffcontends thatCusterhad ahistory ofpoorperfonuanceevaluations,including acriticism

    thathehad t'difficultyassessing criticalincidentsandm aking sound decisionsunderpressure,''yet

    he was authorized to work on stressfulpolice surveillance operations where quick and sound

    judgmentwereessentialtothecompetentperformanceofhisduties.
           Onthedefense,theSheriffcontends(1)he conductedanadequateinvestigationofAdams'
    death,which wasalsoinvestigatedbythePalm Beach County StateAttorney'sOffice,andreviewed

    byFloridaDepartmentofLaw Enforcement(FDLE),with a1lthzeeofficesfindingsufficientfacts
    toexonerateCusterfrom anywrongdoing;(2)thereisnocompetent,relevantevidenceofahistory
    ofshoddy investigationsorSswhitewashing''of fatalshootingsby PBSO offcers in general,ora

    poorinvestigation into the Adam s'shooting in particular, which would sustain a Ctratification''

    theory ofMonellliability; (3)there isno evidencethatthe Sheriff,though hisadministration,
    ignoreda widespreadpracticeofuseof unconstitutionallevelsofdeadly forceby hisdeputies,and

    therebyeffectivelyadoptedthe misconductasunofficialpolicyoftheDepartment;(4)thereisno
    evidencethattheSheriff,throughhis adm inistration,wasadivelynegligentin failingtoadequately

    train,supervise and discipline his officersin use ofdeadly force in am annercausally related to

    Custer'salleged misconductin thiscase;and (5)there isno evidencethatSheriffwasactively
    negligentin the hiring and retention ofdeputies in a m alm ercausally related to Custer'salleged

          UnderMonellv.Dep 'tofsoc.Serv.,436U.S.658,98S.Ct.2018,56L.Ed.2d611(1978),a
     municipalityorgovernmentalemployerliketheSheriffcannotbeheld liableunder 42U.S.C.j

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    1983underatheoryofrespondeatsuperior,i.e.theSheriffherecannotbeheldliableunderj1983
    sim ply because one if his agents or employees caused an injury in the line ofduty,even a

    constitutionalinjury.f#. at691. Rather,agovenzmentalem ployercanbesuedfordamagesunder
    j1983onlywhentheactionthatisallegedtobeunconstitutionaliiimplementsorexecutesapolicy
    statement,ordinance,regulation or decision officially adopted and promulgated by thatbody's

    officers,''orthe action is ''visited pursuantto govenunental'custom ,'even though such custom has

    notreceived fonnalapprovalthrough thebody'sofficialdecisionm aking channels.'M onellat690-

    9 1.

           Inotherwords,M onellimposesliabilityon municipalitiesandgovenam entalemployersfor

    deprivations ofconstitutionalrightsonly where the violation isvisited pursuantto a municipal

    policy,whetherthatpolicyisofficiallyprom ulgatedorunoffciallyauthorized bycustom .Further,

    thepolicyorcustom m ustbe i
                              'themovingforceoftheconstitutionalviolation''in orderto establish

    j1983liabilityofagovernmentalbody,Polkfbz/a/yv.Dodson,454U.S.312,102S.Ct.445,454,
    70L.Ed.2d509(1981),andthecustom mustbecreatedbycityddlawmakersorthosewhoseedictsor
    actsmay fairly besaid to representofficialpolicy.' M onellat694.

           In this context, a longstanding practice or ''custom ' is one that is so ûtpersistent and

    widespread''thatitconstitutesa ''perm anentand well-settled'
                                                               'governm entalpolicy. Trevino v

    Gates,99 F.3d 911 (9tb cir. 1996).The essentialtheory is that a widespread practice of
     unconstitutional behavior is tantam ount to an unofficial custom, practice or policy of the

    municipality Depew v.Cit
                .          yofst.Mary's,Georgia,7#7F.2d 1496(1lthCir.1986).lnthiscase,the
     SheriffseekssummaryjudgmentontheFourthAmendmentexcessiveforceclaim arguingthatthe
     Plaintiffhasnotadduced sufficientevidence to satisfy the requirem entsofM onell.


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                             1. W IDESPREAD CUSTOM AND PRACTICE

             To establish M onell liability on a tûcustom and practice''theory, the Plaintiff m ust

    demonstratethatthedeputies'misconductinusingexcessiveforce wassopersistentandwidespread

    inthedepartmentastopracticallyhavetheforceofan officialpolicy.lnsupportofher'ûcustom and

    practice''M onellclaim ,plaintiffhasproduced evidence that149 citizen'com plaintsofexcessive

    force were filed againstPBSO officersbetween M ay 2007 and M ay 2012,including 27 officer-

    involved shootingsinwhich29citizenswereinjuredorkilled. Onlyoneofthesecomplaintswas
    sustainedafterinternaldepartm entalinvestigation,thatofDeputySmnuelPeixoto,whowasfoundto

    have violated the PBSO Rules and Regulations,butonly afterhe comm itted suicide. Ofthe 27

    officer-involvedshootings,plaintiffrelieson fouzepisodesinvolvingshootingsofunannedcitizens

    involvedinminor1aw infractions asillustrativeexamplesofunjustifieduseofdeadlyforcewhich
    wentundisciplined by the PB SO .

           Plaintiffpositsitishighly unlikely thatonly one officer-involved shooting outoftwenty-

    sevenresultedinafindingofofficerculpability(afteranofficersuicide),coupledwiththeminute
    num berofexcessiveforce com plaintsresulting in officerdiscipline,im plies a practice orcustom of

    letting incidentsofexcessive force go unpunished.The Court,howeversisunable to draw any

    probative value from thesenumbersasthereisno statisticalcontextorexpertexplanation oftheir

    meaning. Thereisnowayto know whetherthepercentageofcomplaintsresultingin disciplineis

    anaveragenum berforapoliceforcethesizeofthePalm Beach CountySheriffsOffice,orwhether

    it is sm all or excessive. W ithout som e w ay of com paring this to other sim ilar-sized police

     departm ents,the Courtcannotinferanything aboutthe PB SO practices in the use ofdeadly force.




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             N otably, thePlaintiffhasproducedverylimited evidenceregardingthefactualbackground

    ofthefourofficer-involved shootingcases.She hasfiled internalinvestigationreportsintwoofthe

    cases,and persorm el com plaint reports in two others. She has not shown, how ever,that the

    incidentsgivingrisetothecomplaintsbearanyfactualsim ilarity totheM ay 16,2012 confrontation

    with herson.M oreimportantly,thePlaintiff hasfailed to produceevidencethattheinvestigations

    into these com plaints againstother PBSO deputy sheriffs were in factinadequate orincorrect.

    Further,Plaintiffhasfailedtoofferanyevidencetending to prove theothershootingswere,in fact

    unjustifiedorunconstitutional.
             W hile,in theory,m unicipalitiesand governm entalbodiesm ay be liable unlk çM onellbased

    on historical evidence of prior com plaints sufficient do dem onstrate that the entities and their

    officialsignored police misconduct,sc: e.g.Parrish v.fuckie,963 F.2d 201 (8thCir.1992)

    (departmentavoided,ignoredandcoveredupcomplaintsofphysicalandsexualmisconduct);Harris
    v Cit
     .  y of Pagedale,821 F.2d 499 (8th cir.1987), the mere existence ofpreviouscitizens'
    complaintsdoesnotsuffice to show a m unicipalcustom ofperm itting orencouraging excessive

    fOI-CC Rogersv.City ofLittleRock,Ark,152F.3d790(8thCir.1998).
         .



             EveniftheCourtweretoassume,arguendo,that thefourisolated shootingsreferencedby

    plaintiff did involve unconstitutional use of excessive force,this evidence falls far shortof

    establishing a pattern thatis so l'obvious,tlagrant,ram pantand of continued duration''and that

    wouldestablish adtcausalcolm ection''betweenactionsoftheSheriffandthe allegedconstitutional

    deprivations.Hartleyv.Parnell,193F.3d 1263,1269(11thCir.1999)(quotingBrown,193F.3dat
     671); Depew v.City ofstMarys,Georgia,787 F.2d 1496 (11tbCir.1986); Pineda v.City of
     Houston, 291F.3d325,329(5tbcir.2002)(elevenincidentsheld insufficientoft'supportapattena

                                                    38
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    ofillegalityin oneofnations'largestcitiesandpoliceforce).
           W ithoutstatisticalcontextorexpertexplanation,the plaintiff'sstatisticalevidenceofprior

    police-involved shootings and com plaints of excessive force is insufficientas a m atterof law to

    sustain a custom and practiceclaim underM onellagainsttheSheriff.

                             2. FAILURE TO TRAIN AND SUPERVISE

          Thereare limited circum stancesin which an allegation offailureto train can bea basisfor

    1983 liability. City ofcanton,Ohio v.Harris,489U.S.378,109 S.Ct.1197,103L.Ed.2d412
    (1989) Toestablish M onellliabilityonthistheory,aplaintiffmustshow amunicipality'sfailureto
    train itsemployeesin a relevantrespectistantamountto tldeliberate indifference to the rightsof

    personswithwhom theguntrainedemployeeslwillinteract.''City ofcanton,at388.SlDeliberate
    indifference''sets a high standard offault,requiring proofthata municipalactordisregarded a

    known,obviousconsequence ofhisaction.

           To show a tideliberate or conscious choice''tantam ountto ltdeliberate indifference,''a

    plaintiffmustpreventevidencethatthemunicipality knew ofa need to train and/orsupervise in a

    particularpracticeyetmadeadeliberatechoicenottotakeanyaction.Goldv.CityofM iami,151
    F 3d 1346,1350(11thCir.1998). To imputesuchknowledge,aplaintiffmustshow apatternof
      .



    sim ilar constitutional violations by untrained employees in order to dem onstrate deliberate

    indifferenceforpurpose ofafailureto train claim .Connickv.Thompson, 563U .S.51,131 S.Ct.

     1350,1360,179L.Ed.2d417(2011).
            ln the latter instance,''deliberate indifference''is detennined by analyzing whether the

     municipalityknew orreasonablyshouldhaveknown oftheriskofconstitutionalviolations, which

     knowledgemaybeimputed throughapatternofpriorconstitutionalviolations. Young v.City of

                                                    39
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    Providence exrel.Napolitano,404F.3d 4(1StCir.2005). The inquirythusturnsonwhetherthe
    m unicipality or govenunental body knew or should have known of the risk ofconstitutional

    violations,butdidnotact.Thisisanobjectivestandard,butinvolvesmorethanmerenegligence.It
    does not require a m unicipality to take reasonable care to discover and prevent constitutional

    violations. ltm eanssimply that,faced with actualorconstnzctive knowledgethatitsagentswill

    probablyviolateconstitutionalrights,a m unicipalitym aynotadoptapolicyofinactioa SeeWarren

    v.Districtofcolumbia,353F.3d36(D.C.Cir.2004),citingFarmerr.Brennan,511U.S.825,841,

    114 S.Ct.1970,1981,128L.Ed.2d811(1994).
           ln thiscase,thePlaintifffailsto identify a genuineissueoffacton theissueofwhetherthe

    Sheriffknew of,and wasdeliberately indifferentto,a need to train based on a pattel'
                                                                                      n ofsim ilar

    constitutionalviolationsto thatalleged here.Plaintiffrelieson fourofficer-involved shootingsof

    unanued civiliansfrom 2007 to 2012 to establish the Sheriffsknowledge ofa need to train.A s

    noted above, even assum ing the existence ofthese events,Plaintiff does notadduce evidence

    suggestingthattheseshootingsweredeemed unjustified,unconstitutional orwereanythingother
    than legitimate self-defenseshootings.

           W ith nootherevidenceofhistoryofwidespreadpriorabuseby PBSO persormelthatwould

    haveputtheSheriffonnoticeoftheneedforimprovedtraining orsupervision,noreasonabletrierof

    factcould conclude thatthe alleged constitutionalviolations in this case were caused by the

    Sheriff'sfailuretotrainitsofficersintheuseofdeadlyforce.Jenkinsv.Bartlett,487F.3d482(7tb

    Cir.2007),ccr/.den.128S.Ct.654(2007);Joinesv.Townshi
                                                       p ofRidley,229Fed.Appx.l61(3d
    Cir 2007); wrightv.sheppard,919F.2d665(1lthcir 1990);ropham v.city ofTalladega,908
       .                                                  .




    F2d 1561(11tbcir.1990); ö'hitakerv.M iami-Dade Cot/n/y,            F.Supp.3d        ,2015 W L

                                                  40
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    5155251(S.D.Fla.2015). The Courtshallaccordingly grantthe Sheriffsmotion forsummary
   judgmentonthesfonellfailuretotraintheory.SeegenerallyBoardofcounty Commissionersof
    BryanCounty Okla.v.Brown,520U.S.397,l17S.Ct.1382,137L.Ed.2d626(1997),
                                                                        *Graham v.
    SJNkPrairiePoliceCommission,915F.2d 1085 (7thCir.1990);Gonzalezv.YsletaIndependent

    SchoolDist, 996F.2d745(5thcir.1993).
                                        3. R AT IFIC AT IO N

          Finally,plaintiffassertsthattheSheriffratifiedCuster'sm isconductinthiscase byfailingto

    correctit,failingto adequately investigatetheshooting,and failing to takeappropriatedisciplinary

    action againstCuster. Even ifthe courtassum es as true thatthere were shortcom ings in the

    Sheriff's investigation of Adams'death, thisdoesnotm ean the Sheriff can be liable under a

    ratificationtheory.TheSheriffmustllcause''theviolationinordertoestablish j1983liability,and
    his failure to investigate the Adam s incidentcould nothave kçcaused,''itunless there is some

    evidence thatrelevant decision-makers had an opportunity to review Custer's decision to use

    excessiveforce,andagreedwiththedecisionand itsbasisbeforeitbecam efinal. Salvato v.M iley,

    790F.3d1286(11thCir.2015).Clearly,thereisnoevidencethattheSheriffl'reviewed''anypal4of
    Custer'sactionsilbefore they becam efinal,''much lessany suggestion the Sherifftûapproved''the

    decision to usedeadly force and basisforit. W ithoutsuch evidence, the Sheriffcannotbe held

    liableunderj1983onaûûratification''theorybasedon asingledeficientinvestigation.
           W hilc liability on a çsratification''theory m ightalternatively be premised on the Sheriffs

    consistent,historicalfailuretoadequatelyinvestigatepolicem isconduct,to succeedonsuch atheory

    the Plaintiffwould have to show thatthe Sherifffailed to adequately and correctly investigate

    num erouspriorsimilarincidents,androutinely exonerated hisdeputiesin dtwhitewashed''internal


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    investigations in a m annerwhich would create an atm osphere ofcom placency in the force,and

    encourageofticers underhiscom mand to useexcessiveforcewithoutfearofrepercussion. Vannv

    CityofNew York,72F.3d 1040(2dCir.1995);Fiacco v.CityofRensselaer,New York,783F.2d
    319(2dCir.1986),cer/.den.,480U.S.922(1987).
            A s noted above,in relation to the klcustom and practice''discussion,the Plaintiffdoesnot

    adduce evidence showing material shortcom ingsin numerouspriorinvestigationssimilarto the

    incidentin question whichwould supportthefindingthatthereisapatternofunjustifiedcivilian
    deathsin officer-involved shootingswhich goesunpunished atthe PBSO .This sam eevidentiary

    deticiency promptsthe Courtto concludethere isno plausible basison which a factfindercould

    conclude thata history ofdeticientinvestigations into excessive force complaints in any way

    liratified''them isconduct,orwasam ovingforce behindtheallegedunconstitutionalconductinthis

    CRSC.

            Accordingly,the courttsnds insufficientevidence to raise a genuine issue offacton the

    question ofwhetherSheriffStratified'' the historicaluse ofexcessive force by his deputies in a

    m annerwhich wast'moving force''behind the constitutionaldeprivation alleged, and shall grant

    theSheriffsmotionforsummaryjudgmentontheAûratification''prongofPlaintiffsM onelltheories
                                  D.W RONGFUL DEATH CLAIM S

            PlaintiffalsoallegesthatOfficerCusterisliableunder Florida's wrongfuldeath statutefor

    thesameSlintentionalandnegligent''misconductgivingrisetoherconstitutionalclaims(excessive

    force,failuretorenderaid).
             W ith regardtotheallegednegligencebased onCuster'sfailuretopersonallyrenderaidtothe

    gravely-woundedAdams,theCourtshallgrantsummaryjudgmentbasedonplaintiffsinabilityto

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    identify theexistenceofaduty to renderpersonalaid in thefirstinstance,and forfailureto adduce

   any evidence on the elem entofcausation,i.e.how Custer'salleged inaction in any w ay contributed

   totheextentofAdams'injuries.
          W ithregardto theintentionalmisconductalleged,although thecom plaintdoesnotidentify

   the specific tort for w hich the Plaintiff seeks to hold Custer liable, the Court interprets the

   ltexcessive force''allegations as the equivalentofa state law Stbattery.''

          In Florida,thetortofbattery consistsof çithe infliction ofahannfuloroffensive contact

   upon another with the intent to cause such contact or the apprehension that such contact is

   imminent.''Quillingv.Price,894So.2d106l,1063(F1a.5tbDCA 2005).Inthecontextofcontact
   m ade by a police officer,slightly differentprinciplesapply:

          Traditionally,a presum ption ofgood faith attaches to an officer's use of force in
          m aking a law fularrestand an officerisliable fordam agesonly wherethe force used
          is clearly excessive...Ifexcessive force is sued in an arrest,the ordinarily protected
          use offorceby apolice officeristransfonned into a battery...

          A battery claim forexcessiveforceisanalyzed by focusing upon w hethertheam ount
          offorce used w asreasonable underthe circum stances...Law enforcem entofficers
          are provided a com plete defense to an excessive use offorce claim w here an officer
          ûireasonablybelievesgtheforce)tobenecessarytodefendanthimselforanotherfrom
          bodily harm while m aking the arrest....''

   CityofM iamiv.Sanders,672So.2d46,47(Fla.3dDCA),rcv.den.,683So.2d484(F1a.1996).See
   alsoGomezv.fozano,839F.Supp.2d 1309(S.D.Fla.2012).
          Onthestate1aw claims,Custerarguesfirst,thathe wasjustifiedintheuseofdeadlyforce
   under the circum stances presented,and second,that he is in any event im m une from liability

   because the conductalleged isoutsidethelim ited waiverofsovereign im m unity provided by Florida

   Statutes.In this respect,plaintiffs com plaint alleges that Custer's d'w illful,w anton,intentional

   inappropriateunwarrantedandunjustifiedexcessiveuseofdeadlyforce''causedthedeathofAdmns
                                                   43
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           gcomplaint,para.40),andthatthedeathwasproximateresultofCuster'sSlmisconduct''whichwas
           S'com mitted in bad faith orwith maliciouspurpose orin a mannerexhibiting wanton and willful

           disregardofhumanrights,safetyorproperty.''gcomplaint,para.741.
                  Under j768.28(9)(a),Florida's waiver of sovereign immunity does notapply to,and
            govenlm ental employees may be personally liable for,acts beyond the scope of their duties,

            com mitted inbadfaith orwithm aliciouspurpose,orthatexhibitedwanton andwillfuldisregard of
'
;
è           humanrights,safetyorproperty.Thisexceptionto thewaiverm ustbereadtogetherwiththegeneral
l
            WaiVCrStatute which statessimply thatagovernm entalagency isliablefor:
)                        ,

r                  the negligent or wrongful act or om issions of any employee of the agency or
                   subdivision while acting within the scope of his office or employm ent under
'
(                  circum stancesinwhichthestateorsuch agency orsubdivisions,ifaprivateperson,
'
.

)
i                  would be liabletotheclaimant.

            j768.28(1),Fla.Stat.(20l3).
(
ï
)                  lnthiscase, aquestionarisesastowhethertheallegationsagainstCuster,iftrue,constituted
(
:           conductfollowing outside thewaiverofliability. Ifthey did,Custermay be liable, but notthe

)           Sheriff. lfthey did not,Custerwould beim mune,butthe Sheriffm ay incurliability.

                   Conductis considered within the scope ofemployment,in contextofthis statute,tlif it
k
l
            occurssubstantially within authorized tim eand spacelim its,''and istçactivated atleastin partby a
l
.
            purposeto sel'
                         vethem aster.'' Itisthepup ose oftheem ployee'sact,asopposed to them ethod of

,
            performance,whichcontrolstheinquiry.Hennaganv.Dep't.ofHighways'tz
                                                                            /efyd7MotorVehicles,
;,

'           467So.2d748(F1a.1stDCA 1985). lnasituationwhereapoliceofferhasallegedlyusedexcessive
:

t           force in comm itting afalsearreststheactsoftheofficerarenotdeemedto fallbeyondthescopeof
t
            the ofûcer'semploymentmerely becausethey are intentional. Richardson v.C# ofpompano
l
    .
            Beachb 511So.2d ll21(Fla.4thDCA 1987)N rev.den.,519 So.2d 986(F1a.1988).
(!
                                                           44

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    !
    .




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           lnthiscase,therecordrevealsgenuineissuesofmaterialfad on question ofwhetherCuster

    acted inbad faith,withm aliciouspurpose,orin mannerwhichexhibits wanton orwillfuldisregard

    ofhum an rights,safety orproperty,orwhetherheacted outside scopeofhisem ploym ent,andthe

    factthathe may have used unreasonable excessive force in hisencounterwith Adam sdoesnot

    necessarilym ean hisconductroseto thislevel.

          AjuryquestionalsopresentsastowhethertheSheriffmaybeliableforallegedmisconduct
    ofCusterin theuseofexcessiveforce.The Sheriffisim muneasam atterof1aw onlyiftheactsare

    soextremeastoconstitutef$aclearlyunlawfulusurpationofauthority gcuster)gdidnotqrightfully
    possess,''oriftherewasSfnoteven apretenseoflawf'ulrightintheperform anceoftheacts.M cGhee

    v.VolusiaCounty,679So.2d729(F1a.1996),citingCrajtv.JohnSirounis(Q7Sons,Inc.,575So.2d
    795(Fla 4tbDCA 1991).TheCourtisunabletomakethatdetenninationonthecurrentrecord.
            .



           Although the plaintiffs com plaint,concededly,contains allegations thatplace Custer's

    conductintherealm ofconductbeyond thatforwhich theSheriffmay beliableunderthelimited

    sovereign imm unity waiver, the Court will allow the plaintiff to amend her complaint, by

    interlineation,to alternativelyallegethestateofmindwithwhichCusterconductedhim self. From

    there,itwillbefora jurytodeterminewhetherCusteractedwithmaliciousintentormotivethat
    excusesthe Sheriff from liability,butexposes Custerto liability,orwhetherhe acted w ith neutral

    intentthatallowshim to claim state agentimm unity, butexposesthe Sheriffunderthe lim ited

    sovereign im munitywaiversetforth underFloridaStatutes.




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                                         V . C O N CLU SIO N

          Based on theforegoing,itisORDERED AND ADJUDGED:

          1.Defendant Custer's motion for summary judgment on Plaintiffs j1983 Fourth
   Amendmentclaims (unlawfuldetentionandexcessiveforce) isDENIED.
          2.DefendantCuster's motion for summary judgmenton Plaintifps j1983 Fourteenth
   Amendmentdueprocessclaim (failuretorendermedicalaid)isGRANTED.
          3.DefendantCuster'smotionforsummaryjudgmentonthestatelaw wrongfuldeathclaim
   isDENIED totheextentpremisedonastate1aw batteryclaim (Count4),andGRANTED tothe
   extentbased on a state 1aw failure to aid negligence claim .

          4.DefendantSheriffs motionforsummaryjudgmentonPlaintiffs j1983Monellclaims,
   predicated on alleged Fourth A m endm ent and Fourteenth violations allegedly com m itted by

   defendantCuster,isG R AN TED .

          5.DefendantSheriffsmotionforsummaryjudgmentonPlaintiff'sstatelaw wrongfuldeath
   claim isDENIED to the extentprem ised on a state 1aw battery claim ,and GR ANTED to the

   extentbased on state law failure to aid negligence claim .

          O RDERED AND ADJUDGED in ChambersatW estPalm Beach,Floridathis /A dayof
                                               '

   January,2016.
                                                                  p   e



                                                       D anielT.K .H url
                                                    United StatesD istri Judge
